Case 2:18-cv-01575-FMO-E Document 125-1 Filed 03/07/18 Page 1 of 96 Page ID #:7683




                            Exhibit A
Case 2:18-cv-01575-FMO-E Document 125-1 Filed 03/07/18 Page 2 of 96 Page ID #:7684




                                                                                                                                                       SUM-100
                                           SUMMONS
                        (CITACION JUDICIAL)                                                                             earti       ria
                                                                                                                                      lisEtif Tibirk
                                                                                                                            OP ORIGINAL FILED
   NOTICE TO DEFENDANT:                                                                                                   Los Ant.,.-1..•
   (AVIS° AL DEA/IAN:MOO:                                                                                                                   '44 2 44   Ce.'

    3M COMPANY(VIda MINNESOTA MINING & MANUFACTURING                                                                             JAN 26 2018
    COIVIPANY)(See Attached Defendants List)
                                                                                                                  Sherd R. loeu uze,               v s k..ri icetriol ore
   YOU ARE BEING SUED BY PLAINTIFF:
  (LO ESTA DEMANDANDO EL DEMANDANIE):                                                                                    By Sheuoya Bolden, Deputy
   Terry Lee Siegfried and Terri Siegfried.

    NOTICE! You have been sued, The court may decide against you without your being heard unless you respond withill'30 days. Read the information
    below.
       You have 30 CALENDAR DAYS after this summons and legal papers are served on you to tile a written response at this court and have a copy
    served on the plaintiff, A letter or phone call will not protect you. Your written response must be In proper legal form If you want the court to hear your
    case. There may be a court tone that you can use for your response. You can find these court forms and more Information at the California Courts
    Onwhe Self-Help Center (www.courfinfo.ca.goviseltheip), your county law library, or the courthouse nearest you, If you cannot pay the fling fee, ask
    the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and properly
    may be taken without further warning from the court.
       There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to cat an attorney
    referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofd legal services program You can locate
    these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomla.org), the California Courts Online Self-Help Center
    (www.coortinfo.m.goviselthelp), or by contacting your local court or county bar association. NOTE! The court has a statutory Han for waived fees and
    costa on any settlement or arbitration award of $10,000 or more in a civil case, The court's Hen must be paid before the coon wilt dismiss the case.
   IAVIsCol Lo hen demendado. Si no responds, denim de 30 dies, is cotta puede clackfir an su contra sin escricharsu version. Lea la Micmac* a
  continuos*.
     Time 30 DIAS DE CALENDARIO despues do quote entreguen este citric* ypepeles legates pare presenter una res,oussla par escdto an este
  code y 'lacer qua se entregue una copla al dernandente, Una carts o una llamado telefOnica no to protegen, Su respueste par &write bane qua ester
  en lormato legal coned° al desee qua procenen su case en la carte, Es posIbla qua haya tin fora/Wade qua listedpuede userpars su respiresta
  Puede ancontrer ealos fonnutarlos de la code yeasInforrnes* an et Osaka ro Ayuda de les Croton do California (WvAv,sucoda,ca.gov), en la
  blblloteoe de lapis do su condado o en la carte qua le quede Inds coma. SIno puede pager la mote de presentee*, pida al secreted° de la code
  qua to out on formula* de eirenclOn de pogo de motes. Si no presents so respuesta a ilempo, puedeperdor el moo par incumplimientoy la code la
  podni guitar so sueldo, dinato y blenea sin Mae adveitencilt.
    Hay otros fagots/los lagales, Es recomendablo qua (lame a on abogado inmerilotamente, SI no mama a on abogado, puede Owner a an ser.lcio do
  rends* a ebogades, Si nopuede pager a on abogado, as posIble qua rumple con los requisites pare obtener servIclos legatos gratuiton de tin
  programa de serviclos levies sin fines do lucre, Puede ancontrar astos grupos sin fines de lucre en el eta web do California Legal Services,
  (Www.lawhelpoallfornia,ofg), en el Centro do /Veda de las Cores da California, (www.sucarte.ca.gov) aeon/Ando-se en contact° con la cone o ed
  colegio de abogados locales, AMC,' Poe ley, la carte None demotic a mimes'las cuotas y los coolos exenfos per importer on gravamen sobre
  cosh:tutor temperer)* de $10,600 6 man de valor teaks madanta on award° o one concesi6n de arbitrate en on cos° de dorecho civil, Tien° que
  pager al gravamen da la code antes de qua la code pueda desachar el cam.
 The name and addresta of the court Is:                                                                    cAsa NUM .
                                                                                                           spears cal Cm):
 (El nombia y dlnaccian do /a code es):
  Superior Court of California, County of Los Angeles
  111 North Hill Street, Los Angeles, CA 90012
 The name, address, and tetephone number of plaintiffs attorney, or plaintiff without an attorney, la:
 (El nombro, fa dIteccion y 'lamer() de telgono del abogado del dornandente, o del demandente titre no Ilene abogado, es):
 Mark A, Linder, LANIER LAW FIRM, 6810 FM 1960 West, Houston, TX 77069; 713-659.5200
                  JAAF
 DATE: January 26 20TO < op
                          ,
                                   a llat Afr,
                                          • %intent, by
                                                                                         S!e                      ADEN
                                                                                                                    , Deputy
  (Fecho)                                                             (Sadrequyo)                                    (Adlunto)
 (For proof of service of ihis summons, 016 Proof of Service of Summons (Conn POS-010),)
 (Pam prueba de entrega do esta citatIdo use formulado Proof of Service of Summons, (POS-010)).
                                   NOTICE TO THE PERSON SERVED: You are served
                                  1.        es an Individual defendant
                                  2.        as the person sued under the fictitious name of (specify):
                                                                    SUPERIOR-LIDGERWOOD-MUNDY, individually and
                                  3, E: .-1 on behalf of (specify): as successor -in -interest         to M.T. Davidson Co.

                                          Under:           OCF' 416.10 (corporation)                                CCP 416.60 (Minor)
                                                           CCP 415,20 (defunct corporation)                         CCP 418.70 (conservatee)
                                                   El      CCP 416.40 (association or partnership)                  CCP 416.90 (authorized person)
                                                                                                           fl
                                                    other (specify):
                                     4. 1=1 by personal delivery on (date): 1qv 8
                                                                                                                                                    fatale 1
 Fora Adoptod kr Mandalay Use                                           SUMMONS                                                 Coda 0MI Prododwo 041220, 466
   Juctial Council a Cattonia                                                                                                                 wvAedultiaOttgaii
  61.114400 (FUN.. July 1, 20091
Case 2:18-cv-01575-FMO-E Document 125-1 Filed 03/07/18 Page 3 of 96 Page ID #:7685




                                                                                                                                SUM-200(A)
                                                                                                   CASE NUMBER:
       SHORT TITLE:
        Terry Lee Siegfried, et al. vs. 3M Company, et al.

                                                              INSTRUCTIONS FOR USE
      ♦ This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
      -1 If this attachment is used, 'nsert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
         Attachment form is attached."

      List additional parties (Check only one box. Use a separate page for each type of party.):

        n        Plaintiff          Defendant     El   Cross-Complainant      Li Cross-Defendant
      AIR & LIQUID SYSTEMS CORPORATION (sued individually and as successor-in-interest to BUFFALO
      PUMPS, INC.);
      ABB, INC. (individually and as successor-in-interest to ITE IMPERIAL CO f/k/a ITE CIRCUIT BREAKER
      COMPANY);
      ALFA LAVAL INC. (sued individually and as successor-in-interest to THE DELAVAL SEPARATOR
      COMPANY and SHARPLES CORPORATION); ATWOOD & MORRILL CO., INC. d/b/a WEIR
      VALVES & CONTROLS USA INC.;
      AURORA PUMP COMPANY;
     A.O. SMITH CORP.;
      BACOU-DALLOZ USA, INC., (sued as successor-in-interest and/or f/k/a W.G.M. SAFETY PRODUCTS
     d/b/a WILLSON SAFETY PRODUCTS);
     CARRIER CORPORATION;
     CARVER PUMP COMPANY;
     CBS CORPORATION (a Delaware Corporation) f/k/a VIACOM, INC, (as successor-by-merger to CBS
     CORPORATION) (a Pennsylvania Corporation) f/k/a WESTINGHOUSE ELECTRIC CORPORATION)
     and also as successor-in-interest to BF STURTEVANT;
     CLA-VAL CO.;
     CLEAVER-BROOKS, INC, (sued individually and as successor-in-interest to DAVIS ENGINEERING
     COMPANY formerly known as AQUA-CHEM, INC. doing business as CLEAVER-BROOKS DIVISION);
     COOPER WIRING DEVICES, a division of COOPER INDUSTRIES (individually and as
     successor-in-interest to ARROW-HART & HEGEMAN, INC.);
    COPES-VULCAN, INC.;
    CRANE CO. (sued individually and successor-in-interest to COCHRANE CORPORATION; CHAPMAN
    VALVE COMPANY and JENKINS VALVES);
    CRANE ENVIRONMENTAL, INC. (sued individually and successor-in-interest to COCHRANE
    CORPORATION);
    EATON CORPORATION (sued individually and as successor-in-interest to CUTLER-HAMMER INC.);
    EATON ELECTRICAL, INC. (sued individually and as successor-in-interest to CUTLER-HAMMER
    INC.);
    ELLIOT TURBOMACHINERY COMPANY a/k/a ELLIOTT COMPANY;
    EMERSON ELECTRIC CO. (individually and as successor-in-interest to KEYSTONE VALVES AND
    CONTROLS, INC,);
    FISHER CONTROLS INTERNATIONAL LLC f/k/a FISHER GOVERNOR COMPANY;
    FMC CORPORATION (sued individually and as successor-in-interest to NORTHERN PUMP COMPANY
    and PEERLESS PUMP COMPANY);


                                                                                                                    Page           of       3
                                                                                                                                        Page 1 of 1
  roan Adopted :'or Mandatory We
    judiclat Council of Caaforria               ADDITIONAL PARTIES ATTACHMENT
 SUM-200(N IROy. January 1, 2007]                     Attachment to Summons
Case 2:18-cv-01575-FMO-E Document 125-1 Filed 03/07/18 Page 4 of 96 Page ID #:7686




                                                                                                                                SUM-200(A)



  1.._ SHORT TITLE:                                                                                CASE NUMBER:

        Terry Lee Siegfried, et al. vs. 3M Company, et al.

                                                             INSTRUCTIONS FOR USE
      3 This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
      + If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
        Attachment form Is attached."

      List additional parties (Check only one box. Use a separate page for each type ofparty.):

                 Plaintiff           Defendant        Cross-Complainant             Cross-Defendant
     FOSTER WHEELER ENERGY CORPORATION;
     FRASER BOILER SERVICE, INC.;
     GARDNER-DENVER, INC.;
     GENERAL DYNAMICS CORPORATION (successor-in-interest to BATH IRON WORKS LTD, f/k/a THE
     HYDE WINDLASS COMPANY);
     GENERAL ELECTRIC COMPANY (individually and as successor-in-interest to MASONEILAN, and
     MANNING, MAXWELL & MOORE, INC.);
     GIBBS & COX, INC,;
     THE GORMAN-RUPP COMPANY (individually and as successor-in-interest to PATTERSON PUMP
     COMPANY, and C,H. WHEELER);
     GOULDS ELECTRONICS (as successor-in-interest to ITE CIRCUIT BREAKER CO.);
     GOULDS PUMPS, INC.;
    HARDIE-TYNES CO., INC, (sued individually and as successor-in-interest to HARDIE-TYNES
    MANUFACTURING CO. and HARDIE-TYKES MANUFACTURING COMPANY);
    HARDIE-TYNES FOUNDRY & MACHINE CO. (sued individually and as successor-in-interest to
    HARDIE-TYNES MANUFACTURING CO. and HARDIE-TYNES MANUFACTURING COMPANY);
    HARDIE-TYNES, LLC (sued individually and as successor-in-interest to HARDIE-TYNES
    MANUFACTURING CO. and HARDIE-TYNES MANUFACTURING COMPANY);
    HERCULES MANUFACTURING COMPANY, INC;
    HOWDEN NORTH AMERICA, INC. f/k/a HOWDEN BUFFALO, INC. (individually and as
    successor-in-interest to BUFFALO FORGE COMPANY);
    IMO INDUSTRIES, INC. (sued individually and as successor-in-interest to DELAVAL TURBINE, INC.);
    INGERSOLL-RAND COMPANY (individually and as successor-in-interest to TERRY STEAM
    TURBINE);
    ITT INDUSTRIES, INC. (sued individually and as successor-in-interest to BELL & GOSSETT, FOSTER
    ENGINEERING and HOFFMAN SPECIALTY);
    KERR MACHINERY CO. n/k/a KERR PUMP & SUPPLY INC.;
    LAWLER MANUFACTURING COMPANY, INC, f/k/a LAWLER AUTOMATIC CONTROLS, INC.;
    THE MARLEY-WYLAIN COMPANY;
    MUELLER STEAM SPECIALITY COMPANY n/k/a WATTS WATER TECHNOLOGIES, INC.;
    THE NASH ENGINEERING COMPANY;
    OWENS-ILLINOIS, INC,;
    PPG INDUSTRIES, INC. (individually and as successor-in-interest to AKZO NOBEL INC., and DEVOE
    COATINGS);
    QUIMBY EQUIPMENT COMPANY;
    ROBERTSHAW CONTROLS COMPANY (individually and as successor-n-interest to FULTON
    SYLPHON COMPANY);
                                                                                      Page 2 of 3
                                                                                                                                     Papal of
  F01711 Adopled for Mandalay Use
   Judidet Cowell of California
                                                 ADDITIONAL PARTIES ATTACHMENT
 SUM-260(A] (Rey. January 1, 2007]                     Attachment to Summons
Case 2:18-cv-01575-FMO-E Document 125-1 Filed 03/07/18 Page 5 of 96 Page ID #:7687




                                                                                                                                SUM-200(A)
                                                                                                   CASE NUMBER:
        SHORT TITLE:
        Terry Lee Siegfried, et al. vs. 3M Company, et al.

                                                             INSTRUCTIONS FOR USE
      3 This form may be used as an attachment to any summons If space does not permit the listing of all parties en the summons.
        if this attachment Is used, Insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
        Attachment form is attached."

       List additional parties (Check only one box. Use a separate page for each type cf party):

        I 1      Plaintiff           I V 1 Defendant     1   1 Cross-Complainant   7   Cross-Defendant

      ROCKWELL AUTOMATION INC. (individually and as successor by merger to ALLEN-BRADLEY
      COMPANY LLC and ROSTONE CORPORATION);
      ROSS OPERATING VALVE COMPANY d/b/a ROSS CONTROLS;
      RSCC WIRE & CABLE, LLC.;
      SCHNEIDER ELECTRIC, USA, INC., f/k/a SQUARE D COMPANY;
      SIEMENS CORPORATION (individually and as successor-in-interest to ITE CIRCUIT BREAKER CO.);
      SIEMENS ENERGY INC. (individually and as successor by merger to DRESSER-RAND GROUP, INC.);
      SPIRAX SARCO, INC.;
      SPX CORPORATION (sued individually and as successor-in-interest to THE MARLEY COMPANY,
      WYLAIN, INC., WEIL-McCLAIN, a division of WYLAIN, INC., and WEIL-McCLAIN);
      STERLING FLUID SYSTEMS, (USA) LLC f/k/a PEERLESS PUMP COMPANY;
      SULZER PUMPS HOUSTON, INC. (sued individually and as successor-in-interest to PACO PUMPS f/k/a
      PACIFIC PUMPING COMPANY);
      SUPERIOR-LIDGERWOOD-MUNDY (individually and as successor-in-interest to M.T. Davidson Co.);
     VELAN VALVE CORP.;
     VIAD CORP f/k/a THE DIAL
     CORPORATION (sued individually and as successor-in-interest to GRISCOM-RUSSELL COMPANY);
     VIKING PUMP, INC., a Unit of IDEX Corporation;
     WARREN PUMPS, LLC (individually and as successor-in-interest to QUIMBY PUMP COMPANY);
     WEIL-McCLAIN;
     WEIL-McCLAIN, a division of THE MARLEY COMPANY (sued individually and as successor-in-interest
     to WYLAIN CO.);
     WILO USA LLC (individually and as successor-in-interest to WEIL PUMP COMPANY, INC);
     WEIR VALVES & CONTROLS USA INC. f/k/a ATWOOD & MORRILL;
     THE WILLIAM POWELL COMPANY;
     and DOES 1-450, inclusive,




                                                                                                                   Page     3     at       3
                                                                                                                                       Page 1 of I
  Earn Adopted for Maridalory Ube
    Juciclat Councl of Calfromte                       ADDITIONAL PARTIES ATTACHMENT
 SUM-200(A) (Rev. January 1, 20071                            Attachment to Summons
Case 2:18-cv-01575-FMO-E Document 125-1 Filed 03/07/18 Page 6 of 96 Page ID #:7688




        1    Mark A. Linder, CA Bar No. 268796
             Case A. Dam, CA Bar No. 589054
     2       THE LANIER LAW FIRM
        3    6810 FM 1960 West
             Houston, TX 77069                                                        CONFORMED COPY
     4       Telephone 713-659-5200                                                        OF ORIGINALFLED
                                                                                         Los A plopA Superior Court
             Facsimile 713-659-2204                                                                     ;1;
     5
             Attorneys for Plaintiffs
                                                                                             JAN 2 6 2018
     6                                                                                                           Woof
                                                                                   Sherri R. +.:W101, CaldiidUVO
     7                                                                                  By Shaw Bolden, pep*

     8                          SUPERIOR COURT OF THE STATE OF CALIFORNIA

     9                                  FOR THE COUNTY OF LOS ANGELES

    10
                                                                               BC 6 9 1 9 0 0
    11      TERRY LEE SIEGFRIED and                       Case No.
            TERRI SIEGFRIED,
    12                                                    THIS ACTION CONSTITUTES COMPLEX
    13                                     Plaintiffs,    ASBESTOS LITIGATION
                          vs.
    14                                                    COMPLAINT FOR PERSONAL INJURY —
             3M COMPANY (f/k/a MINNESOTA                  ASBESTOS (NEGLIGENCE; STRICT
    15       MINING & MANUFACTURING                       LIABILITY, FALSE REPRESENTATION
    16       COMPANY);                                    UNDER RESTATEMENT OF TORTS
             AIR & LIQUID SYSTEMS                         SECTION 402-B; INTENTIONAL
    17       CORPORATION (sued individually               TORT/INTENTIONAL FAILURE TO
            and as successor-in-interest to               WARN; RESPIRATOR DEFENDANT'S
    18      BUFFALO PUMPS, INC.);                         NEGLIGENCE; RESPIRATOR
    19      ABB, INC. (individually and as                DEFENDANTS' STRICT LIABILITY; LOSS
            successor-in-interest to ITE IMPERIAL         OF CONSORTIUM)
    20      CO f/k/a ITE CIRCUIT BREAKER
            COMPANY);
    21      ALFA LAVAL INC. (sued individually
    22      and as successor-in-interest to THE
            DELAVAL SEPARATOR COMPANY
    23      and SHARPLES CORPORATION);
            ATWOOD & MORRILL CO., INC,
    24      d/b/a WEIR VALVES & CONTROLS
    25      USA INC.;
            AURORA PUMP COMPANY;
   26       A.O. SMITH CORP.;
            BACOU-DALLOZ USA, INC., (sued
   27       as successor-in-interest and/or f/k/a
   28       W.G.M. SAFETY PRODUCTS d/b/a

                                                           1
                                        COMPLAINT FOR PERSONAL INJURY - ASBESTOS
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           WILLSON SAFETY PRODUCTS);
           CARRIER CORPORATION;
    2
           CARVER PUMP COMPANY;
    3      CBS CORPORATION (a Delaware
          Corporation) f/k/a VIACOM, INC. (as
    4     successor-by-merger to CBS
          CORPORATION) (a Pennsylvania
    5     Corporation) f/k/a WESTINGHOUSE
    6     ELECTRIC CORPORATION) and also
          as successor-in-interest to BF
    7     STURTEVANT;
          CLA-VAL CO.;
    8     CLEAVER-BROOKS, INC. (sued
    9     individually and as successor-in-interest
          to DAVIS ENGINEERING
   10     COMPANY formerly known as AQUA-
         CHEM, INC. doing business as
   11    CLEAVER-BROOKS DIVISION);
   12    COOPER WIRING DEVICES, a
         division of COOPER INDUSTRIES
   13    (individually and as successor-in-
         interest to ARROW-HART &
   14    HEGEMAN, INC.);
   15    COPES-VULCAN, INC.;
         CRANE CO. (sued individually and
   16    successor-in-interest to COCHRANE
         CORPORATION; CHAPMAN VALVE
   17   COMPANY and JENKINS VALVES);
   18    CRANE ENVIRONMENTAL, INC.
        (sued individually and successor-in-
   19    interest to COCHRANE
        CORPORATION);
   20   EATON CORPORATION (sued
   21   individually and as successor-in-interest
        to CUTLER-HAMMER INC.);
   22   EATON ELECTRICAL, INC. (sued
        individually and as successor-in-interest
   23   to CUTLER-HAMMER INC.);
   24   ELLIOT TUR130MACHINERY
        COMPANY alk/a ELLIOTT
   25   COMPANY;
        EMERSON ELECTRIC CO.
   26   (individually and as successor-in-
   27   interest to KEYSTONE VALVES AND
        CONTROLS, INC.);
   28   FISHER CONTROLS

                                                     2
                                  COMPLAINT FOR PERSONAL INJURY   ASBESTOS



                                                                             1
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        1      INTERNATIONAL LLC f/k/a
               FISHER GOVERNOR COMPANY;
     2         FMC CORPORATION (sued
     3         individually and as successor-in-interest
               to NORTHERN PUMP COMPANY
     4        and PEERLESS PUMP COMPANY);
              FOSTER WHEELER ENERGY
     5        CORPORATION;
     6        FRASER BOILER SERVICE, INC.;
              GARDNER-DENVER, INC.;
     7        GENERAL DYNAMICS
              CORPORATION (successor-in-
     8        interest to BATH IRON WORKS LTD.
     9        f/k/a THE HYDE WINDLASS
              COMPANY);
    10        GENERAL ELECTRIC COMPANY
             (individually and as successor-in-
    11        interest to MASONEILAN, and
    12       MANNING, MAXWELL & MOORE,
             INC.);
    13        GIBBS & COX, INC.;
             THE GORMAN-RUPP COMPANY
    14       (individually and as successor-in-
    15       interest to PATTERSON PUMP
             COMPANY, and C.H. WHEELER);
    16       GOULDS ELECTRONICS (as
             successor-in-interest to ITE CIRCUIT
   17        BREAKER CO.);
   18        GOULDS PUMPS, INC.;
             HARDIE-TYNES CO., INC. (sued
   19        individually and as successor-in-interest
            to HARDIE-TYNES
   20        MANUFACTURING CO. and
   21       HARDIE-TYNES
            MANUFACTURING COMPANY);
   22       HARDIE-TYNES FOUNDRY &
            MACHINE CO. (sued individually and
   23       as successor-in-interest to HARDIE-
   24       TYNES MANUFACTURING CO, and
            HARDIE-TYNES
   25       MANUFACTURING COMPANY);
            HARDIE-TYNES, LLC (sued
   26       individually and as successor-in-interest
   27       to HARDIE-TYNES
            MANUFACTURING CO. and
   28       HARDIE-TYNES

                                                         3
                                      COMPLAINT FOR PERSONAL INJURY - ASBESTOS
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    1     MANUFACTURING COMPANY);
          HERCULES MANUFACTURING
    2     COMPANY, INC;
    3     HOWDEN NORTH AMERICA, INC.
         f/k/a HOWDEN BUFFALO, INC.
    4    (individually and as successor-in-
         interest to BUFFALO FORGE
    5    COMPANY);
    6    IMO INDUSTRIES, INC. (sued
         individually and as successor-in-interest
    7    to DELAVAL TURBINE, INC.);
         INGERSOLL-RAND COMPANY
    8    (individually and as successor-in-
    9    interest to TERRY STEAM
         TURBINE);
   10    ITT INDUSTRIES, INC. (sued
         individually and as successor-in-interest
   11    to BELL & GOSSETT, FOSTER
   12    ENGINEERING and HOFFMAN
         SPECIALTY);
   13    KERR MACHINERY CO. n/lea
         KERR PUMP & SUPPLY INC.;
   14    LAWLER MANUFACTURING
   15    COMPANY, INC. f/k/a LAWLER
         AUTOMATIC CONTROLS, INC.;
   16    TILE MARLEY-WYLAIN
         COMPANY;
   17    MUELLER STEAM SPECIALITY
   18    COMPANY n/k/a WATTS WATER
        TECHNOLOGIES, INC.;
   19   THE NASH ENGINEERING
        COMPANY;
   20   OWENS-ILLINOIS, INC.;
   21   PPG INDUSTRIES, INC.
        (individually and as successor-in-
   22   interest to AKZO NOBEL INC., and
        DEVOE COATINGS);
   23   QUIMBY EQUIPMENT
   24   COMPANY;
        ROBERTSHAW CONTROLS
   25   COMPANY (individually and as
        successor-in-interest to FULTON
   26   SYLPHON COMPANY);
   27   ROCKWELL AUTOMATION INC.
        (individually and as successor by
   28   merger to ALLEN-BRADLEY

                                                    4
                                 COMPLAINT FOR PERSONAL INJURY -ASBESTOS
Case 2:18-cv-01575-FMO-E Document 125-1 Filed 03/07/18 Page 10 of 96 Page ID
                                  #:7692




  1     COMPANY LLC and ROSTONE
        CORPORATION);
  2     ROSS OPERATING VALVE
  3     COMPANY d/b/a ROSS CONTROLS;
       RSCC WIRE & CABLE, LLC.;
  4    SCHNEIDER ELECTRIC, USA,
       INC., f/k/a SQUARE D COMPANY;
  5    SIEMENS CORPORATION
  6    (individually and as successor-in-
       interest to ITE CIRCUIT BREAKER
  7    CO.);
       SIEMENS ENERGY INC.
  8    (individually and as successor by
  9    merger to DRESSER-RAND GROUP,
       INC.);
 10    SPIRAX SARCO, INC.;
       SPX CORPORATION (sued
 11    individually and as successor-in-interest
 12    to THE MARLEY COMPANY,
       WYLAIN, INC., WEIL-McCLAIN, a
 13    division of WYLAIN, INC., and WEIL-
      McCLADN);
 14   STERLING FLUID SYSTEMS,
 15   (USA) LLC f/k/a PEERLESS PUMP
      COMPANY;
 16   SULZER PUMPS HOUSTON, INC.
      (sued individually and as successor-in-
 17   interest to PACO PUMPS f/k/a
 18   PACIFIC PUMPING COMPANY);
      SUPERIOR-LIDGERWOOD-
 19   MUNDY (individually and as
      successor-in-interest to M.T. Davidson
 20   Co.);
 21   VELAN VALVE CORP.;
      VIAD CORP f/k/a THE DIAL
 22   CORPORATION (sued individually and
      as successor-in-interest to GRISCOM-
 23   RUSSELL COMPANY);
 24   VIKING PUMP, INC., a Unit of IDEX
      Corporation;
 25   WARREN PUMPS, LLC (individually
      and as successor-in-interest to
 26   QUIMBY PUMP COMPANY);
 27   WEIL-McCLAIN;
      WEIL-McCLAIN, a division of THE
 28   MARLEY COMPANY (sued

                                                  5
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   individually and as successor-in-interest
   to WYLAIN CO.);
 2 WILO USA LLC
                      (individually and as
 3 successor-in-interest to WEIL PUMP
   COMPANY, INC.);
 4 WEIR VALVES & CONTROLS USA
   INC. f/k/a ATWOOD & MORRILL;
 5 THE WILLIAM
                      POWELL
 6 COMPANY;
   and DOES 1-450, inclusive,
 7
                             Defendants.
 8
 9
                                       GENERAL ALLEGATIONS
10
            COME NOW, Plaintiffs TERRY LEE SIEGFRIED and TERRI SIEGFRIED
11
     (hereinafter "Plaintiffs") and complain and allege as follows:
12
            1.     The true names and capacities, whether individual, corporate, associate,
13
     governmental or otherwise, of Defendants DOES 1 through 450, inclusive, are unknown to
14
     Plaintiffs at this time, who therefore sue said Defendants by such fictitious names. When the
15
     true names and capacities of said Defendants have been ascertained, Plaintiffs will amend this
16
     complaint accordingly. Plaintiffs are informed and believe, and thereon allege, that each
17
     Defendant designated herein as a DOE is responsible, negligently or in some other actionable
18
     manner, for the events and happenings hereinafter referred to, and caused injuries and damages
19
     proximately thereby to the Plaintiffs, as hereinafter alleged,
20
            2.     At all times herein mentioned, each of the Defendants was the agent, servant,
21
     employee and/or joint venture of his co-Defendants, and each of them, and at all said times each
22
     Defendant was acting in the full course and scope of said agency, service, employment and/or
23
     joint venture. Plaintiffs are informed and believe, and thereon allege that at all times herein
24
     mentioned, Defendants 3M COMPANY (f/k/a MINNESOTA MINING & MANUFACTURING
25
     COMPANY); AIR & LIQUID SYSTEMS CORPORATION (sued individually and as
26
     successor-in-interest to BUFFALO PUMPS, INC.); ABB, INC. (individually and as successor-
27
     in-interest to ITE IMPERIAL CO f/k/a ITE CIRCUIT BREAKER COMPANY); ALFA
28
     LAVAL INC. (sued individually and as successor-in-interest to THE DELAVAL SEPARATOR
                                                  6
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  1    COMPANY and SHARPLES CORPORATION); ATWOOD & MORRILL CO., INC. d/b/a
  2    WEIR VALVES & CONTROLS USA INC.; AURORA PUMP COMPANY; A.O. SMITH
  3    CORP.; BACOU-DALLOZ USA, INC., (sued as successor-in-interest and/or f/k/a W.G.M.
  4   SAFETY PRODUCTS d/b/a WILLSON SAFETY PRODUCTS); CARRIER CORPORATION;
  5   CARVER PUMP COMPANY; CBS CORPORATION (a Delaware Corporation) f/k/a
  6   VIACOM, INC. (as successor-by-merger to CBS CORPORATION) (a Pennsylvania
  7   Corporation) f/k/a WESTINGHOUSE ELECTRIC CORPORATION) and also as successor-in-
  8   interest to BF STURTEVANT; CLA-VAL CO.; CLEAVER-BROOKS, INC. (sued individually

  9   and as successor-in-interest to DAVIS ENGINEERING COMPANY formerly known as
 10   AQUA-CHEM, INC. doing business as CLEAVER-BROOKS DIVISION); COOPER WIRING
 11   DEVICES, a division of COOPER INDUSTRIES (individually and as successor-in-interest to
 12   ARROW-HART & HEGEMAN, INC.); COPES-VULCAN, INC.; CRANE CO. (sued
 13   individually and successor-in-interest to COCHRANE CORPORATION; CHAPMAN VALVE
 14   COMPANY and JENKINS VALVES); CRANE ENVIRONMENTAL, INC. (sued individually
 15   and successor-in-interest to COCHRANE CORPORATION); EATON CORPORATION (sued
 16   individually   and   as    successor-in-interest   to   CUTLER-HAMMER   INC.);   EATON
 17   ELECTRICAL, INC. (sued individually and as successor-in-interest to CUTLER-HAMMER

 18   INC.); ELLIOT TURBOMACHINERY COMPANY a/k/a ELLIOTT COMPANY; EMERSON
 19   ELECTRIC CO. (individually and as successor-in-interest to KEYSTONE VALVES AND
 20   CONTROLS, INC.); FISHER CONTROLS                    INTERNATIONAL LLC f/k/a FISHER
 21   GOVERNOR COMPANY; FMC CORPORATION (sued individually and as successor-in-
 22   interest to NORTHERN PUMP COMPANY and PEERLESS PUMP COMPANY); FOSTER
 23   WHEELER ENERGY CORPORATION; FRASER BOILER SERVICE, INC.; GARDNER-
 24   DENVER, INC.; GENERAL DYNAMICS CORPORATION (successor-in-interest to BATH
 25   IRON WORKS LTD. f/k/a THE HYDE WINDLASS COMPANY); GENERAL ELECTRIC
 26   COMPANY (individually and as successor-in-interest to MASONEILAN, and MANNING,
 27   MAXWELL & MOORE, INC.); GIBBS & COX, INC.; THE GORMAN-RUPP COMPANY
 28   (individually and as successor-in-interest to PATTERSON PUMP COMPANY, and C.H.

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      WHEELER); GOULDS ELECTRONICS (as successor-in-interest to ITE CIRCUIT BREAKER
  2   CO.); GOULDS PUMPS, INC.; HARDIE-TYNES CO., INC. (sued individually and as

  3   successor-in-interest to HARDIE-TYNES MANUFACTURING CO. and HARDIE-TYNES

  4   MANUFACTURING COMPANY); HARDIE-TYNES FOUNDRY & MACHINE CO. (sued
  5   individually and as successor-in-interest to HARDIE-TYNES MANUFACTURING CO. and

  6   HARDIE-TYNES           MANUFACTURING            COMPANY);      HARDIE-TYNES,        LLC   (sued

  7   individually and as successor-in-interest to HARDIE-TYNES MANUFACTURING CO. and

  8   HARDIE-TYNES MANUFACTURING COMPANY); HERCULES MANUFACTURING
 9    COMPANY, INC; HOWDEN NORTH AMERICA, INC. f/k/a HOWDEN BUFFALO, INC.

10    (individually and as successor-in-interest to BUFFALO FORGE COMPANY); IMO

11    INDUSTRIES, INC. (sued individually and as successor-in-interest to DELAVAL TURBINE,

12    INC,); INGERSOLL-RAND COMPANY (individually and as successor-in-interest to TERRY

13    STEAM TURBINE); ITT INDUSTRIES, i-Nc. (sued individually and as successor-in-interest to

14    BELL & GOSSETT, FOSTER ENGINEERING and HOFFMAN SPECIALTY); KERR

15    MACHINERY CO. n/k/a KERR PUMP & SUPPLY INC.; LAWLER MANUFACTURING
16    COMPANY, INC. f/k/a LAWLER AUTOMATIC CONTROLS, INC.; THE MARLEY-

17    WYLAIN COMPANY; MUELLER STEAM SPECIALITY COMPANY n/k/a WATTS

18    WATER TECHNOLOGIES, INC.; THE NASH ENGINEERING COMPANY; OWENS-

19    ILLINOIS, INC.; PPG INDUSTRIES, INC. (individually and as successor-in-interest to AKZO

20    NOBEL       INC.,    and     DEVOE     COATINGS);     QUIMBY      EQUIPMENT         COMPANY;

21    ROBERTSHAW CONTROLS COMPANY (individually and as successor in-interest to

22    FULTON SYLPHON COMPANY); ROCKWELL AUTOMATION INC. (individually and as

23    successor    by     merger     to   ALLEN-BRADLEY       COMPANY         LLC   and   ROSTONE

24    CORPORATION); ROSS OPERATING VALVE COMPANY d/b/a ROSS CONTROLS;

25    RSCC WIRE & CABLE, LLC.; SCHNEIDER ELECTRIC, USA, INC., f/k/a SQUARE D

26    COMPANY; SIEMENS CORPORATION (individually and as successor-in-interest to ITE

27    CIRCUIT BREAKER CO,); SIEMENS ENERGY INC. (individually and as successor by

28    merger to DRESSER-RAND GROUP, INC.); SPIRAX SARCO, INC.; SPX CORPORATION

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      1   (sued individually and as successor-in-interest to THE MARLEY COMPANY, WYLAIN, TNC.,
  2       WEIL-McCLAIN, a division of WYLAIN, INC., and WEIL-McCLAIN); STERLING FLUID
  3       SYSTEMS, (USA) LLC f/k/a PEERLESS PUMP COMPANY; SULZER PUMPS HOUSTON,
  4       INC. (sued individually and as successor-in-interest to PACO PUMPS f/k/a PACIFIC
  5       PUMPING          COMPANY);       SUPERIOR-LIDGERWOOD-MUNDY                      (individually    and   as
  6       successor-in-interest to M.T. Davidson Co.); VELAN VALVE CORP.; WAD CORP f/k/a THE
  7       DIAL CORPORATION (sued individually and as successor-in-interest to GRISCOM-
  8       RUSSELL COMPANY); VIKING PUMP, INC., a Unit of IDEX Corporation; WARREN
  9 ' PUMPS, LLC (individually and as successor-in-interest to QUIMBY PUMP COMPANY);
 10       WEIL-McCLAIN; WEIL-McCLAIN, a division of THE MARLEY COMPANY (sued
 11       individually and as successor-in-interest to WYLAIN CO.); WILO USA LLC (individually and
 12       as successor-in-interest to WEIL PUMP COMPANY, INC.); WEIR VALVES & CONTROLS
 13       USA INC. f/k/a ATWOOD & MORRILL; THE WILLIAM POWELL COMPANY; and DOES
 14       1-450 ("Defendants"),        inclusive,     were individuals,   corporations,     partnerships    and/or
 15       unincorporated associations organized and existing under and by virtue of the laws of the State
 16       of California, or the laws of some other state or foreign jurisdiction, and that said Defendants,

 17       and each of them, were and are authorized to do and are doing business in the State of
 18       California, or the laws of some other state or foreign jurisdiction, and that said Defendants, and
 19       each of them, were and are authorized to do and are doing business in the State of California,
 20       and that said Defendants have regularly conducted business in the County of Los Angeles, State
 21       of California.
 22              3,        Plaintiffs allege that Plaintiff TERRY LEE SIEGFRIED was exposed to asbestos,
 23       asbestos-containing products and/or products designed to be used in association with asbestos

 24       products during his tenure as an electrician at Long Beach Naval Shipyard from approximately

 25       1969 through 1996.
 26             4.         Plaintiffs allege herein that Plaintiff TERRY LEE SIEGFRIED developed
 27 ! malignant mesothelioma as a                   result   of Defendants AIR &          LIQUID     SYSTEMS
 28       CORPORATION (sued individually and as successor-in-interest to BUFFALO PUMPS, INC.);

                                                              9
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     1   ABB, INC. (individually and as successor-in-interest to ITE IMPERIAL CO f/k/a ITE

  2      CIRCUIT BREAKER COMPANY); ALFA LAVAL INC. (sued individually and as successor-
  3      in-interest to THE DELAVAL SEPARATOR COMPANY and SHARPLES CORPORATION);

  4      ATWOOD & MORRILL CO., INC. d/b/a WEIR VALVES & CONTROLS USA INC.;
  5      AURORA PUMP COMPANY; A.O. SMITH CORP.; CARRIER CORPORATION; CARVER

  6      PUMP COMPANY; CBS CORPORATION (a Delaware Corporation) f/k/a VIACOM, INC. (as

  7      successor-by-merger        to     CBS    CORPORATION)         (a   Pennsylvania   Corporation)   f/k/a
  8      WESTINGHOUSE ELECTRIC CORPORATION) and also as successor-in-interest to BF
  9      STURTEVANT; CLA-VAL CO.; CLEAVER-BROOKS, INC. (sued individually and as
 10      successor-in-interest to DAVIS ENGINEERING COMPANY formerly known as AQUA-

 11      CHEM, INC. doing business as CLEAVER-BROOKS DIVISION); COOPER WIRING

 12      DEVICES, a division of COOPER INDUSTRIES (individually and as successor-in-interest to

 13      ARROW-HART & HEGEMAN, INC.); COPES-VULCAN, INC.; CRANE CO. (sued

 14      individually and successor-in-interest to COCHRANE CORPORATION; CHAPMAN VALVE

 15      COMPANY and JENKINS VALVES); CRANE ENVIRONMENTAL, INC. (sued individually

 16      and successor-in-interest to COCHRANE CORPORATION); EATON CORPORATION (sued

17       individually   and    as        successor-in-interest   to   CUTLER-HAMMER         INC.);   EATON

18       ELECTRICAL, INC. (sued individually and as successor-in-interest to CUTLER-HAMMER
19       fNC.); ELLIOT TURBOMACHINERY COMPANY a/k/a ELLIOTT COMPANY; EMERSON
20       ELECTRIC CO, (individually and as successor-in-interest to KEYSTONE VALVES AND

21       CONTROLS,      INC.);      FISHER        CONTROLS INTERNATIONAL               LLC f/k/a FISHER
22       GOVERNOR COMPANY; FMC CORPORATION (sued individually and as successor-in-

23       interest to NORTHERN PUMP COMPANY and PEERLESS PUMP COMPANY); FOSTER

24       WHEELER ENERGY CORPORATION; FRASER BOILER SERVICE, INC.; GARDNER-

25       DENVER, INC.; GENERAL DYNAMICS CORPORATION (successor-in-interest to BATH

26       IRON WORKS LTD, f/k/a THE HYDE WINDLASS COMPANY); GENERAL ELECTRIC

27       COMPANY (individually and as successor-in-interest to MASONEILAN, and MANNING,

28       MAXWELL & MOORE, INC.); GIBBS & COX, INC.; THE GORMAN-RUPP COMPANY

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  1   (individually and as successor-in-interest to PATTERSON PUMP COMPANY, and C.H.

  2    WHEELER); GOULDS ELECTRONICS (as successor-in-interest to ITE CIRCUIT BREAKER

  3   CO.); GOULDS PUMPS, INC.; HARDIE-TYNES CO., INC. (sued individually and as

  4   successor-in-interest to HARDIE-TYN. ES MANUFACTURING CO. and HARDIE-TYNES

  5   MANUFACTURING COMPANY); HARDIE-TYNES FOUNDRY & MACHINE CO. (sued

  6   individually and as successor-in-interest to HARDIE-TYNES MANUFACTURING CO. and

  7   HARDIE-TYNES           MANUFACTURING            COMPANY);      HARDIE-TY-NES,       LLC   (sued

  8   individually and as successor-in-interest to HARDIE-TYNES MANUFACTURING CO. and

  9   HARDIE-TYNES MANUFACTURING COMPANY); HERCULES MANUFACTURING

 10 COMPANY, INC; HOWDEN NORTH AMERICA, INC. f/k/a HOWDEN BUFFALO, INC.
 11   (individually and as successor-in-interest to BUFFALO FORGE COMPANY); IMO

 12   INDUSTRIES, INC. (sued individually and as successor-in-interest to DELAVAL TURBINE,

 13   INC.); INGERSOLL-RAND COMPANY (individually and as successor-in-interest to TERRY

 14   STEAM TURBINE); ITT INDUSTRIES, INC. (sued individually and as successor-in-interest to
 15   BELL & GOSSETT, FOSTER ENGINEERING and HOFFMAN SPECIALTY); KERR

 16   MACHINERY CO. n/k/a KERR PUMP & SUPPLY INC.; LAWLER MANUFACTURING

 17   COMPANY, INC. f/k/a LAWLER AUTOMATIC CONTROLS, INC.; THE MARLEY-

 18   WYLAIN COMPANY; MUELLER STEAM SPECIALITY COMPANY n/k/a WATTS

 19   WATER TECHNOLOGIES, INC.; THE NASH ENGINEERING COMPANY; OWENS-

 20   ILLINOIS, INC.; PPG INDUSTRIES, INC. (individually and as successor-in-interest to AKZO

 21   NOBEL       INC.,    and     DEVOE     COATINGS);     QUIMBY      EQUIPMENT         COMPANY;

 22   ROBERTSHAW CONTROLS COMPANY (individually and as successor in-interest to

 23   FULTON SYLPHON COMPANY); ROCKWELL AUTOMATION INC. (individually arid as

 24   successor    by     merger     to   ALLEN-BRADLEY       COMPANY         LLC   and   ROSTONE
 25   CORPORATION); ROSS OPERATING VALVE COMPANY d/b/a ROSS CONTROLS;

 26   RSCC WIRE & CABLE, LLC.; SCHNEIDER ELECTRIC, USA, INC., f/k/a SQUARE D

27    COMPANY; SIEMENS CORPORATION (individually and as successor-in-interest to ITE

28    CIRCUIT BREAKER CO.); SIEMENS ENERGY INC. (individually and as successor by

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  1    merger to DRESSER-RAND GROUP, INC.); SPIRAX SARCO, INC.; SPX CORPORATION

  2    (sued individually and as successor-in-interest to THE MARLEY COMPANY, WYLAIN, INC.,

  3    WEIL-McCLA1N, a division of WYLAIN, INC., and WEIL-McCLAIN); STERLING FLUID

  4    SYSTEMS, (USA) LLC f/k/a PEERLESS PUMP COMPANY; SULZER PUMPS HOUSTON,

 5     INC. (sued individually and as successor-in-interest to PACO PUMPS f/k/a PACIFIC

 6     PUMPING      COMPANY);         SUPERIOR-LIDGERWOOD-MUNDY                 (individually   and   as
 7     successor-in-interest to M.T. Davidson Co.); VELAN VALVE CORP.; VIAD CORP f/k/a THE
 8    DIAL CORPORATION (sued individually and as successor-in-interest to GRISCOM-

 9     RUSSELL COMPANY); VIKING PUMP, INC,, a Unit of IDEX Corporation; WARREN

10    PUMPS, LLC (individually and as successor-in-interest to QUIMBY PUMP COMPANY);
11    WEIL-McCLAIN; WEIL-MeCLAIN, a division of THE MARLEY COMPANY (sued

12    individually and as successor-in-interest to WYLAIN CO.); WILO USA LLC (individually and

13    as successor-in-interest to WEIL PUMP COMPANY, INC.); WEIR VALVES & CONTROLS

14    USA INC. f/k/a ATWOOD & MORRILL; THE WILLIAM POWELL COMPANY; and DOES

15    1-450's ("Product Defendants") negligence and Plaintiff TERRY LEE SIEGFRIED'S exposure
16    to asbestos from products sold, shipped, supplied, distributed, installed, removed, or replaced by

17    Product Defendants. These products were defective and inherently dangerous asbestos-

18    containing products and/or products defectively designed to be used in association with asbestos

19    products

20           5.     Plaintiffs additionally allege that Plaintiff TERRY LEE SIEGFRIED developed

21    malignant mesothelioma as a result of Defendants, 3M COMPANY (f/k/a MINNESOTA

22    MINING & MANUFACTURING COMPANY); BACOU-DALLOZ USA, INC., (sued as

23    successor-in-interest and/or f/k/a W.G.M. SAFETY PRODUCTS d/b/a WILLSON SAFETY

24    PRODUCTS);       and     DOES   351-450's      ("RESPIRATOR       DEFENDANTS")        negligence,

25    defectively   designed    and   manufactured    safety   masks,   intentional   misrepresentation,

26    concealment, and negligent misrepresentations to Plaintiff TERRY LEE SIEGFRIED and his

27    employers regarding their safety masks.

28    ///

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     1                                      FIRST CAUSE OF ACTION
  2                                                 (Negligence)

  3            PLAINTIFFS COMPLAIN OF PRODUCT DEFENDANTS AND DOES 1-450, THEIR
            "ALTERNATE ENTITIES," AND EACH OF THEM, AND FOR A CAUSE OF ACTION
  4                        FOR NEGLIGENCE ALLEGE AS FOLLOWS:

  5              6.     Plaintiffs incorporate herein by reference, as though fully set forth therein, the
  6       general allegations set forth above.
  7              7.     At all times herein mentioned, each of the named Product Defendants and DOES
  8      1-450 was the successor, successor-in-business, successor-in-product line or a portion thereof,
  9      parent, subsidiary, wholly or partially owned by, or the whole or partial owner of or member in
 10      an entity researching, studying, manufacturing, fabricating, designing, modifying, labeling,
 11      assembling, distributing, leasing, buying, offering for sale, supplying, selling, inspecting,
 12      servicing, installing, contracting for installation, repairing, marketing, warranting, re-branding,
 13      manufacturing for others, packaging and advertising asbestos, and/or products designed to cut,
 14      saw or otherwise manipulate and products containing asbestos, including but not limited to,
 15      those products identified in paragraph 3 above. Said entities shall hereinafter collectively be
 16      called "alternate entities." Each of the herein named Product Defendants is liable for the tortious

 17      conduct of each successor, successor-in-business, successor-in-product line or a portion thereof,

 18      assign, predecessor in product line or a portion thereof, parent, subsidiary, whole or partial
 19      owner, or wholly or partially owned entity, or entity that it was a member of, or funded, that
 20      researched, repaired, marketing, warranted, re-branded, manufactured for others and advertised
 21      asbestos, and asbestos products and/or products designed to cut, saw or otherwise manipulate,

 22      products containing asbestos. The following Product Defendants, and each of them, are liable
 23      for the acts of each and every "alternate entity," and each of them, in that there has been a
 24      virtual destruction of Plaintiffs' remedy against each such "alternate entity"; Defendants, and
25       each of them, have acquired the assets, product line, or a portion thereof, of each such "alternate
 26      entity," Defendants, and each of them, have caused the destruction of Plaintiffs' remedy against
27       each such "alternate entity"; each such Product Defendant has the ability to assume the risk-
28       spreading role of each such "alternate entity"; and that each such Product Defendant enjoys the

                                                     13
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     1   goodwill originally attached to each such "alternate entity."
 2       DEFENDANT                                        ALTERNATE ENTITY
 3
         AIR AND LIQUID SYSTEMS                           BUFFALO PUMPS, INC.
 4       CORPORATION
 5       ALFA LAVAL, INC.                                 SHARPLES, INC.
                                                          ALFA-LAVAL SEPARATION, INC.
 6                                                        DE LAVAL SEPARATOR COMPANY
 7       CARRIER CORPORATION                              UNITED TECHNOLOGIES
                                                          CORPORATION
 8                                                        BRYANT HEATING AND AIR
                                                          CONDITIONING, INC.
 9
         CBS CORPORATION                                  VIACOM INC.
10                                                        WESTINGHOUSE ELECTRIC
                                                          CORPORATION
11                                                        BF STIJRTEVANT
                                                          VIACOM INTERNATIONAL, INC.
12                                                        VIACOM PLUS
13       CLEAVER-BROOKS, INC.                             AQUA-CHEM, INC.
                                                          CLEAVER-BROOKS COMPANY, INC.
14                                                        DAVIS ENGINEERING
15       CRANE CO.                                       CRANE ENVIRONMENTAL
                                                         CRANE PUMPS AND SYSTEMS
16                                                       VALVE SERVICES
                                                         CRANE VALVE GROUP
17                                                       CRANE SUPPLY
                                                         CHAPMAN VALVE CO.
18                                                       DEMING PUMPS
                                                         JENKINS VALVES
19                                                       COCHRANE FEED TANKS
                                                         COCHRANE DIVISION
20                                                       CHEMPUMP
21       CRANE ENVIRONMENTAL, INC.                       COCHRANE CORPORATION
22       ELLIOTT TURBOMACHINERY                          ELLIOTT COMPANY
         COMPANY
23
         FMC CORPORATION                                 PEERLESS PUMP COMPANY
24                                                       McNALLY INDUSTRIES-NORTHERN
                                                         PUMP
25                                                       FMC AGRICULTURAL PRODUCTS
                                                         FMC BIOPOLYMER
26                                                       FMC LITHIUM
                                                         FMC ALKALI CHEMICALS
27                                                       FMC FORET
                                                         NORTHERN PUMP COMPANY
28

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  1   FOSTER WHEELER ENERGY                 FOSTER WHEELER BOILER
      CORPORATION                           CORPORATION
  2                                         FOSTER WHEELER CONTRACTORS,
                                            INC.
  3                                         FOSTER WHEELER CORPORATION
                                            FOSTER WHEELER DEVELOPMENT
  4                                         CORP.
                                            FOSTER WHEELER ENERGY
  5                                         RESOURCES INC.
                                            FOSTER WHEELER ENERGY SERVICES,
  6                                         INC.
                                            FOSTER WHEELER ENVIRESPONSE,
  7                                         INC.
                                            FOSTER WHEELER ENVIRONMENTAL
  8                                         CORPORATION
                                            FOSTER WHEELER POWER GROUP, INC
  9                                         FOSTER WHEELER POWER SYSTEMS,
                                            INC.
 10                                         FOSTER WHEELER PYROPOWER, INC.
                                            FOSTER WHEELER REALTY SERVICES,
 11                                         INC.
                                            FOSTER WHEELER USA CORPORATION
 12
      GARDNER DENVER, INC.                  GARDNER GOVERNOR CORPORATION
 13                                         GARDNER COMPANY
                                            GARDNER DENVER INDUSTRIAL
 14                                         MACHINERY
                                            COOPER INDUSTRIES, INC.
 15                                         SYLTONE PLC
                                            TAMROTOR
 16                                         GEOQUIP
                                            CHAMPION PNEUMATIC MACHINERY
 17                                         WITTIG
                                            ALLEN-STUART EQUIPMENT
 18                                         COMPANY
                                            AIR RELIEF
 19                                         BUTTERWORTH JETTING SYSTEMS
                                            INVINCIBLE AIRFLOW SYSTEMS
 20                                         HAMWORTHY BELISS & MORCOM
                                            HOFFMAN AIR AND FILTRATION
 21                                         SYSTEMS
                                            JOY MANUFACTURING COMPANY
 22
      GENERAL ELECTRIC COMPANY              GENERAL ELECTRIC BROADCASTING
 23                                         COMPANY, INC.
                                            GENERAL ELECTRIC CAPITAL
 24                                         ASSURANCE COMPANY
                                            GENERAL ELECTRIC PROFESSIONAL
 25                                         SERVICES COMPANY
                                            GENERAL ELECTRIC TRADING
 26                                         COMPANY
 27   THE GORMAN-RUPP COMPANY              C.H. WHEELER
                                           GRISCOM-RUSSELL
 28

                                          15
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     1   GOULDS PUMPS (NY), INC                   GOULDS PUMPS (TX), LP
     2   HARDIE-TYNES, LLC                        HARDIE-TYNES MANUFACTURING CO.
     3   HOWDEN NORTH AMERICA, INC.              HOWDEN BUFFALO, INC.
                                                 HOWDEN FAN
     4                                           HOWDEN FAN COMPANY
                                                 THE HOWDEN FAN COMPANY
     5                                           NOVENCO FANS, INC.
                                                 AMERICAN DAVIDSON INC.
 6                                               HOWDEN SIROCCO INC.
                                                 HOWDEN BUBBALO FANS
 7                                               HOWDEN BUFFALO FORGE CO,
                                                 HOWDEN
 8
         IMO INDUSTRIES, INC.                    DE LAVAL TURBINE INC.
 9                                               WARREN PUMPS, INC.
                                                 COLFAX CORPORATION
10                                               IMO PUMP
                                                 IMO AB
11                                               COLFAX PUMP GROUP
                                                 ALL WEILER
12                                               HOUTTUIN
                                                 C.H. WHEELER
13
         INGERSOLL-RAND COMPANY                  INGERSOLL-RAND ABG
14                                               DRESSER-RAND
                                                 POWERWORKS
15                                               THERMOKING
                                                 TERRY STEAM TURBINE COMPANY
16                                               WHITON MACHINE CO.
17       ITT INDUSTRIES, INC.                    ITT SERVICE INDUSTRIES
                                                 CORPORATION
18                                               RULE INDUSTRIES, INC.
                                                 GOULDS PUMPS, INCORPORATED
19                                               GOULDS PUMPS (IPG), INC.
                                                A-C PUMP
20                                              AQUIOUS ADVANCED LIQUID
                                                SEPARATIONS
21                                              BELL & GOSSETT
                                                DOMESTIC PUMP
22                                              ENGINEERED PROCESS SOLUTIONS
                                                GROUP
23                                              FLOWTRONEX PSI INC.
                                                ITT FLYGT
24                                              HOFFMAN SPECIALTY
                                                LOWARA
25                                              MARLOW PUMPS
                                                McDONNELL & MILLER
26                                              ITT RICHTER CHEMIE-TECHNIK GmbH
                                                SANITAIRE
27                                              ITT STANDARD
                                                VOGEL PUMPS
28                                              WEDECO INDUSTRIES, INC.

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     1                                            BARTON INSTRUMENTS DIVISION a/lc/a
                                                  PRIME MEASUREMENT PRODUCTS,
  2                                               LLC
                                                  NU-FLO MEASUREMENT SYSTEMS
  3                                               BRANOM INSTRUMENT COMPANY
                                                  BARTON INSTRUMENTS DIVISION a/lc/a
  4                                               PRIME MEASUREMENT PRODUCTS,
                                                  LLC
  5                                               NU-FLO MEASUREMENT SYSTEMS
                                                  BRANOM INSTRUMENT COMPANY
  6
         OWENS-ILLINOIS, INC.                     OWENS-CORNING FIBERGLAS
  7                                               CORPORATION
                                                  FENCO
  8                                               MARINE ENGINEERING
                                                  FESCO
  9                                               FIBERGLAS ENGINEERING AND
                                                  SUPPLY
 10                                               COMPANY
                                                  WILLIAM LANE COMPANY
 11                                               SILICARE INSULATION
                                                  ASBESTOS ENGINEERING & SUPPLY
 12                                               CO.
                                                  OWENS-BROCKWAY GLASS
 13                                               CONTAINERS
                                                  BROCKWAY GLASS CO., INC.
 14                                               OWENS-ILLINOIS GLASS COMPANY
 15      SPX CORPORATION                          THE VULCAN SOOT BLOWER
                                                  COMPANY COPES-VULCAN
 16                                               WEIL-MCLAIN COMPANY
                                                  THE MARLEY WYLAIN COMPANY
 17
         STERLING FLUID SYSTEMS (USA) LLC         STERLING FLUID SYSTEMS
 18                                               (AMERICAS) INC.
                                                  STERLING FLUID SYSTEMS (CANADA)
 19                                               LTD.
                                                  STERLING FLUID SYSTEMS
 20                                               (COLOMBIA) LTD.
                                                  PEERLESS PUMP COMPANY
 21                                               LaBOUR PUMP COMPANY
                                                  STERLING PEERLESS PUMPS
 22
         VIAD CORPORATION                         THE DIAL CORPORATION
 23                                               GRISCOM-RUSSELL COMPANY
 24      VIKING PUMP, INC.                       IDEX CORPORATION
                                                 ROTO KING PUMP, INC.
 25                                              HOUDAILLE VIKING PUMP, INC.
 26      WARREN PUMPS, LLC                       WARREN PUMPS INC.
                                                 WARREN PUMPS-HOUDAILLE, INC.
27                                               COLFAX PUMP GROUP
                                                 ALWEILER AG
28                                               HOUTTUIN BV

                                                7
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     1                                                      IMO PUMP
                                                            ZENITH PUMPS
     2                                                      QUIMBY PUMP CO.
     3    WEIR VALVE & CONTROLS USA INC.                    ATWOOD & MORRILL CO.,INC.
                                                            THE WEIR GROUP PLC
 4                                                          WEIR MINERALS
                                                            WEIR CLEAR LIQUID
 5                                                          WEIR VALVES & CONTROLS
                                                            WEIR SERVICES
 6                                                          WEIR TECHNA
                                                            A & M VALVE
 7                                                          HOPHOLD A & M, INC.
 8       THE WILLIAM POWELL COMPANY                         POWELL VALVES
 9
10              8.      At all times herein mentioned, Product Defendants, their "alternate entities," and

11       each of them, were and are engaged in the business of researching, manufacturing, fabricating,

12       designing, modifying, labeling, assembling, distributing, leasing, buying, offering for sale,

13       supplying, selling, inspecting, servicing, installing, contracting for installation, repairing,

14       renting, marketing, warranting, re-branding, manufacturing for others, packaging, and

15       advertising asbestos and asbestos products and/or products designed to cut, saw or otherwise

16       manipulate products containing asbestos (hereinafter Defendants' Products).

17              9.     At all times herein mentioned, Product Defendants, their "alternate entities," and

18       each of them, singularly and jointly, negligently and carelessly researched, manufactured,

19       fabricated, specified, designed, modified, tested or failed to test, abated or failed to abate,

20       warned or failed to warn of the health hazards, labeled, assembled, distributed, leased, bought,

21       rented offered for sale, supplied, sold, inspected, serviced, installed, contracted for installation,

22       repaired, marketed, warranted, re-branded, manufactured for others, packaged, and advertised

23       Defendants' Products, including but not limited to those products identified in paragraph three 3

24       above, in that the Defendants' Products were unreasonably dangerous because they released

25       respirable asbestos fibers which resulted in personal injuries to users, consumers, workers,

26       bystanders, and others, including Plaintiff TERRY LEE SIEGFRIED herein (hereinafter

27       collectively called "exposed person"). Said products were used at all times in a manner that was

28       reasonably foreseeable to Product Defendants, their "alternate entities," and each of them,

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       thereby rendering said products unsafe and dangerous for use by "exposed person." Plaintiffs
  2    herein allege that TERRY LEE SIEGFRIED was exposed to asbestos that was caused to be
  3    released as a result of exposure to Defendants' Products, including but not limited to those
  4    products identified in paragraph 3 above (hereinafter referred to as "Defendants' products" or
  5   "Defendants' asbestos and asbestos-containing products"), were a substantial contributing factor
  6    in the development of his malignant mesothelioma, and therefore proximately caused Plaintiff
  7    TERRY.LEE SIEGFRIED's injuries.

  8           10.    Product Defendants, their "alternate entities," and each of them, had a duty to
  9   exercise reasonable care while engaging in the activities mentioned above, and each Product
 10   Defendants breached said duty of reasonable care in that Product Defendants, and each of them,
 11   failed to safely and adequately design, manufacture and/or sell Defendants' products; failed to
 12   test said products; failed to investigate the hazards of said products; failed to warn "exposed
 13   person," including Plaintiff TERRY LEE SIEGFRIED of the health hazards of using
 14   Defendants' products; failed to warn of the harmful exposures caused by use of said products to
 15   cut, saw or otherwise manipulate asbestos containing products; failed to disclose the known or

 16   knowable dangers of using Defendants' products; failed to obtain suitable alternative materials

 17   to asbestos when such alternatives were available; and as otherwise stated herein.

 18          11.    The Defendants' products were and are hazardous to the health and safety of
 19   Plaintiff, and others in Plaintiff's position working with and in close proximity to such products,
 20   and since on or before 1930, the hazards and dangerous propensities of the Defendants' products
 21   were both known and knowable to the Product Defendants, their "alternate entities," and each of
 22   them, through the use of medical and/or scientific data and other knowledge available to
 23   Defendants, their "alternate entities," and each of them at the time of Product Defendants'

 24   manufacture, distribution, sale, research, study, fabrication, design, modification, labeling,

 25   assembly, leasing, buying, offering for sale, supply, inspection, service, installation, contracting
 26   for installation, repair, marketing, warranting, re-branding, re-manufacturing for others,

 27   packaging and advertising, of those products, which clearly indicated the hazards and dangerous

 28   propensities of asbestos presented a substantial danger to users, including Plaintiff, TERRY

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  1    LEE SIEGFRIED of Defendants' Products through the intended and reasonably foreseeable use
  2    of those products.
  3          12.     Product Defendants, their "alternate entities," and each of them, knew, or
  4   reasonably should have known, that Defendants' Products were dangerous and were likely to be
  5   dangerous when used in their intended and reasonably foreseeable manner.
  6          13.    Product Defendants, their "alternate entities," and each of them, knew, or
  7   reasonably should have known, that Defendants' Products would be installed, repaired,
 8    maintained, overhauled, removed, sawed, chipped, hammered, mixed, scraped, sanded, swept,
 9    broken, "ripped out," and/or used to cut, saw or otherwise manipulate products containing
10    asbestos, or otherwise disturbed in their ordinary, intended and foreseeable use, resulting in the
11    release of airborne hazardous and dangerous asbestos fibers, and that through such activity,
12    "exposed person," including Plaintiff TERRY LEE SIEGFRIED herein, would be exposed to
13    said hazardous and dangerous asbestos fibers. Product Defendants, their "alternate entities," and
14    each of them, knew or reasonably should have known that users, such as Plaintiff TERRY LEE
15    SIEGFRIED and others in his position, working with and in close proximity to Defendants'
16    Products would not realize or know the danger. Product Defendants, their "alternate entities,"
17    and each of them negligently failed to adequately warn or instruct of the dangers of the products.
18 A reasonable designer, manufacturer, distributor, seller, installer, buyer or supplier, under the
19 same or similar circumstances, would have warned of the dangers to avoid exposing others to a
20    foreseeable risk of harm. The negligent failure of Defendants, their "alternate entities," and each
21    of them to warn was a substantial factor in causing harm to Plaintiff TERRY LEE SIEGFRIED.
22           14.    Plaintiff TERRY LEE SIEGFRIED used, handled, or was otherwise exposed to
23    asbestos from Defendants' Products referred to herein in a manner that was reasonably
24    foreseeable to Product Defendants and each of them. Plaintiff's exposure to Defendants'
25    Products occurred at various locations set forth in Exhibit "A" which is attached hereto and
26    incorporated by reference herein.
27          15.    As a direct and proximate result of the conduct of the Product Defendants, their

28 "alternate entities," and each of them, as aforesaid, Plaintiff TERRY LEE SIEGFRIED's

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       exposure to asbestos from use of Defendants' Products caused severe and permanent injury to
  2    the Plaintiff Plaintiffs are informed and believe, and thereon allege, that progressive lung

  3    disease, cancer and other serious diseases are caused by inhalation of asbestos fibers without
  4    perceptible trauma and that said disease results from exposure to Defendants' Products over a

  5    period of time.

  6          16.     Plaintiff TERRY LEE SIEGFRIED was informed of his malignant mesothelioma
  7    diagnoses on or about October 2017. His malignant mesothelioma was caused by exposure to
  8    asbestos from Defendants' Products and/or from the use of Defendants' Products while serving
  9   as an electrician at Long Beach Naval Shipyard; both from his on "hands-on" work as an
 10   electrician and from working in close proximity to other workers who cut, sawed or otherwise
 11   manipulated products containing asbestos. Plaintiff TERRY LEE SIEGFRIED was not aware at

 12   the time of exposure that Defendants' Products presented any risk of injury and/or disease.
 13          17.    As a direct and proximate result of the aforesaid conduct of Product Defendants,
 14   their "alternate entities," and each of them, Plaintiff TERRY LEE SIEGFRIED has suffered and
 15   will continue to suffer permanent injuries and future injuries to his person, body and health,
 16   including, but not limited to, pain, discomfort, loss of weight, loss of appetite, fatigue,
 17   somnolence, lethargy, dyspnea, dysphagia, and other physical symptoms, and the mental and
 18   emotional distress attendant thereto, as Plaintiffs malignant mesothelioma progresses, all to his

 19   general damage in a sum in excess of the jurisdictional limit of a limited civil case.
 20          18,    As a direct and proximate result of the aforesaid conduct of the Product
 21   Defendants, their "alternate entities," and each of them, Plaintiff TERRY LEE SIEGFRIED has

 22   incurred, is presently incurring, and will incur in the future, liability for physicians, surgeons,
 23   nurses, hospital care, medicine, hospices, X-rays and other medical treatment, the true and exact
 24   amount thereof being presently unknown to Plaintiffs, subject to proof at trial.
 25          19.    As a further direct and proximate result of the said conduct of the Product
 26   Defendants, their "alternate entities," and each of them, Plaintiff has incurred, and will incur,
27    loss of income, wages, profits and commissions, a diminishment of earning potential, and other

28    pecuniary losses, the true and exact amount thereof being presently unknown to Plaintiff, subject

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 1   to proof at trial.
 2          20.     Plaintiffs further allege that Product Defendants, their "alternate entities," and
 3   each of them, also engaged in the following wrongful acts:
 4                  (a)   Product Defendants, their "alternate entities," and each of them, suppressed
 5          from all consumers, including Plaintiff TERRY LEE SIEGFRIED medical and scientific
 6          information concerning the health hazards associated with inhalation of asbestos,
 7          including the substantial risk of injury or death therefrom. Although Defendants, and
 8          each of them, knew of the substantial risks associated with exposure to asbestos, they
 9          willfully and knowingly concealed such infoimation from the users of their asbestos
10          and/or asbestos-containing products in conscious disregard of the rights, safety and
11          welfare of "exposed person," including Plaintiff TERRY LEE SIEGFRIED;
12                  (b)   Product Defendants, their "alternate entities," and each of them, belonged
13          to, participated in, and financially supported industry organizations which, for and on
14          behalf of Defendants, their "alternate entities," and each of them, actively promoted the
15          suppression of information about the dangers of asbestos to users of the aforementioned
16         products and materials, thereby misleading Plaintiff TERRY LEE SIEGFRIED as to the
17         safety of their products. Through their participation and association with such industry
18         organizations, Product Defendants and each of them knowingly and deliberately

19         concealed and suppressed the true information regarding asbestos and its dangers, and
20         propagated misinformation intended to instill in users of Defendants' Products a false
21         security about the safety of their products;
22                 (c)    Commencing in 1930 with the study of mine and mill workers at Asbestos
23         and Thetford Mines in Quebec, Canada, and the study of the workers at Raybestos-

24         Manhattan plants in Manheim and Charleston, South Carolina, Defendants, their
25         "alternate entities," and each of them, knew and possessed medical and scientific

26         information of the connection between the inhalation of asbestos fibers and asbestosis,
27         which information was disseminated through the Asbestos Textile Institute and other
28         industry organizations to all other Product Defendants, their "alternate entities," and each

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      1    of them, herein;
   2              (d)      Product Defendants, their "alternate entities," and each of them, failed to

   3       warn Plaintiff TERRY LEE SIEGFRIED and others of the nature of said materials which
  4        were dangerous when breathed and which could cause pathological effects without
  5        noticeable trauma, despite the fact that Defendants, their "alternate entities," and each of
  6       them, possessed knowledge and were under a duty to disclose that said materials were
  7       dangerous and a threat to the health of persons coming into contact therewith;
  8              (e)     Product Defendants, their "alternate entities," and each of them; failed to
  9       provide Plaintiff TERRY LEE SIEGFRIED with information concerning adequate
 10       protective masks and other equipment devised to be used when applying, mixing, sawing,
 11       cutting, installing and sanding the products of the Defendants, their "alternate entities,"
 12       and each of them, despite knowing that such protective measures were necessary, and
 13       that they were under a duty to disclose that such materials were dangerous and would
 14       result in injury to Plaintiff TERRY LEE SIEGFRIED and others applying and installing
 15       such material;
 16              (f)    Product Defendants, their "alternate entities," and each of them, knew and
 17       failed to disclose that Plaintiff TERRY LEE SIEGFRIED and anyone similarly situated,

 18       upon inhalation of asbestos would, in time, have a substantial risk of deVeloping

 19       irreversible conditions of pneumoconiosis, asbestosis, mesothelioma and/or cancer;
 20              (g)    Product Defendants, their "alternate entities," and each of them, failed to
 21       provide information of the true nature of the hazards of asbestos materials and that
 22       exposure to these material would cause pathological effects without noticeable trauma to
 23       the public, including buyers, users, and physicians employed by Plaintiff TERRY LEE
 24       SIEGFRIED so that said physicians could not examine, diagnose, and treat Plaintiff and
 25       others who were exposed to asbestos, despite the fact that Product Defendants, their
 26       "alternate entities," and each of them, were under a duty to so inform and said failure was
 27       misleading;
 28              (h)    Product Defendants, their "alternate entities," and each of them, and their

                                                 23
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     1           officers, directors, and managing agents participated in, authorized, expressly and
     2           impliedly ratified, and had full knowledge of, or should have known of, each of the acts
     3           set forth herein. Product Defendants, their "alternate entities," and each of them, are
     4           liable for the oppressive and malicious acts of their "alternate entities," and each of them,

     5          and each Product Defendant's officers, directors, and managing agents participated in,

     6          authorized, expressly and impliedly ratified, and had full knowledge of, or should have
     7          known of, the acts of each of their "alternate entities" as set forth herein.
 8              21.     The herein-described conduct of said Product Defendants, their "alternate
 9        entities," and each of them, was and is willful, malicious, oppressive, outrageous, and in

10       conscious disregard and indifference to the safety and health of "exposed person," including

11       Plaintiff TERRY LEE SIEGFRIED, in that Defendants, and each of them, continued to

12       manufacture, market and/or sell dangerous products known to cause asbestos to be released, and

13       to cause severe, permanent injuries and death, despite possessing knowledge of the substantial

14       hazards posed by use of their products, in order to continue to profit financially therefrom.

15       Product Defendants, their "alternate entities," and each of them, engaged in such conduct so

16       despicable, contemptible, base, vile, miserable, wretched and loathsome as to be looked down

17       upon and despised by ordinary people and justifies an award of punitive and exemplary damages

18       pursuant to Civil Code section 3294. Plaintiff, for the sake of example and by way of punishing

19       said Defendants, seek punitive damages according to proof.

20              22.    Product Defendants and each of them engaged in conduct which was intended by
21       Defendants and each of them to cause injury to the Plaintiff, and despicable conduct which was

22       carried on by the Defendant with a willful and conscious disregard of the rights or safety of

23       others, including Plaintiff TERRY LEE SIEGFRIED.

24             23.     Product Defendants, and each of them, engaged in the despicable conduct

25       described herein that subjected persons, including Plaintiff TERRY LEE SIEGFRIED, to cruel

26       and unjust hardship in the form of severe, debilitating and fatal diseases like asbestosis, lung

27       cancer and mesothelioma, in conscious disregard of those persons' rights.

28             24.    As a direct and proximate result of such intentional conduct by Product

                                                     24
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       Defendants, their "alternate entities" and each of them, Plaintiff TERRY LEE SIEGFRIED
  2    sustained the injuries and damages alleged herein.
  3           WHEREFORE, Plaintiffs pray for judgment against Product Defendants, their "alternate
  4    entities," and each of them, as hereinafter set forth,
  5                                     SECOND CAUSE OF ACTION
  6                                              (Strict Liability)
  7         AS AND FOR A SECOND, SEPARATE, FURTHER AND DISTINCT CAUSE OF
           ACTION FOR STRICT LIABILITY, PLAINTIFFS COMPLAIN OF PRODUCT
  8    DEFENDANTS, DOES 1-450, THEIR "ALTERNATE ENTITIES," AND EACH OF THEM,
                              AND ALLEGE AS FOLLOWS:
  9
              25.    Plaintiffs incorporate herein by reference, as though fully set forth therein, each
 10
      and every one of the general allegations and the allegations contained in the First Cause of
 11
      Action herein.
 12
             26.     Product Defendants, their "alternate entities," and each of them, sold the
 13
      aforementioned Defendants' Products and failed to adequately warn or instruct of the known
 14
      and knowable dangers and risks of the ordinary, intended, and foreseeable use of their products,
 15
      which dangers and risks would not have been, and were not, recognized by ordinary consumers
 16
      of the products, including Plaintiff, TERRY LEE SIEGFRIED, and the lack of sufficient
 17
      instructions and/or warnings was a substantial factor in causing harm to Plaintiff TERRY LEE
 18
      SIEGFRIED and others in Plaintiff's position working with and in close proximity to such
 19
      products.
 20
             27.     Defendants' Products were defective and unsafe for their intended purpose and
 21
      foreseeable use in that, when used, handled, installed, repaired, maintained, overhauled,
 22
      removed, sawed, chipped, hammered, mixed, scraped, sanded, swept, broken, "ripped out," cut,
 23
      sawed, installed, and/or used as intended, or used to cut, saw or manipulate products containing
 24
      asbestos or otherwise disturbed, said products would result in the release, and therefore
 25
      inhalation of, hazardous and dangerous asbestos fibers by exposed person, including Plaintiff
 26
      TERRY LEE SIEGFRIED. The defect existed in all of said products when they left the
 27
      possession of the Product Defendants, their "alternate entities," and each of them. At the time
 28

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 1   Defendants' Products were used by Plaintiff; and others in Plaintiff's position working with and

 2   in close proximity to such products, the products were substantially the same as when they left

 3   the possession of the Product Defendants, their "alternate entities," and each of them and/or any

 4   changes made to the products after they left the possession of Defendants, their "alternate

 5   entities," and each of them were reasonably foreseeable to Defendants, their "alternate entities,"
 6   and each of them. Product Defendants' asbestos and asbestos products were used by Plaintiff
 7   TERRY LEE SIEGFRIED, and others in Plaintiff's position working with and in close

 8   proximity to such products, in a way that was reasonably foreseeable to Defendants, and each of

 9   them. The defect in said products was a substantial factor in causing harm and personal injuries

10   to Plaintiff TERRY LEE SIEGFRIED, including malignant mesothelioma, while being used in a

11   reasonably foreseeable manner, thereby rendering said products defective, unsafe, and

12   unreasonably dangerous for their ordinary and intended use.

13          28.    As a direct and proximate result of the actions and conduct outlined herein,

14   Defendants' Products failed to perform as safely as an ordinary consumer would have expected

15   in that Defendants' Products, and each of them, caused respirable asbestos fibers to be released

16   from asbestos products during their ordinary and intended use, and such hazardous exposures

17   lacked any perceptible qualities to the human body, yet they cause severe and fatal diseases,

18   including asbestosis, lung cancer, mesothclioma and other cancers in humans. Plaintiffs further

19   allege that "exposed person," including Plaintiff TERRY LEE SIEGFRIED, were unaware of

20   the harmful effects of asbestos and further unaware of the harmful exposures to Defendants'

21   Products when such exposures occurred, and thus the failure of Defendants' Products to perfoiiii

22   as safely as Plaintiff TERRY LEE SIEGFRIED had reason to expect was a substantial factor in

23   causing his injuries.

24          29.    As a direct and proximate result of the actions and conduct outlined herein,

25   Plaintiff TERRY LEE SIEGFRIED has suffered the injuries and damages alleged herein.

26          30.    Plaintiffs further allege that Product Defendants, their "alternate entities," and

27   each of them, also engaged in the following wrongful acts:

28                 (a)       Product Defendants, their "alternate entities," and each of them, suppressed

                                                    26
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          from all consumers, including Plaintiff TERRY LEE SIEGFRIED, medical and scientific

  2       information concerning the health hazards associated with inhalation of asbestos,
          including the substantial risk of injury or death therefrom. Although Defendants, and

  4       each of them, knew of the substantial risks associated with exposure to asbestos, they

  5       willfully and knowingly concealed such information from the users of their asbestos

  6       and/or asbestos-containing products in conscious disregard of the rights, safety and
  7       welfare of "exposed person," including Plaintiff TERRY LEE SIEGFRIED;
  8              (b)    Product Defendants, their "alternate entities," and each of them, belonged
  9       to, participated in, and financially supported industry organizations, including but not
 10       limited to the Gypsum Association, Asbestos Information Association, Industrial

 11       Hygiene Foundation and others, which, for and on behalf of Defendants, their "alternate
 12       entities," and each of them, actively promoted the suppression of information about the

 13       dangers of asbestos to users of the aforementioned products and materials, thereby
 14       misleading Plaintiff TERRY LEE SIEGFRIED and as to the safety of their products.

 15       Through their participation and association with such industry organizations, Defendants

 16       and each of them knowingly and deliberately concealed and suppressed the true
 17       infoiination regarding asbestos and its dangers, and propagated misinformation intended

 18       to instill in users of Defendants' Products a false security about the safety of their
 19       products. The Dust Control Committee, which changed its name to the Air Hygiene
 20       Committee, of the Asbestos Textile Institute, was specifically enlisted to study the subject
 21       of dust control. Discussions in this committee were held many times regarding the
 22       dangers inherent in asbestos and the dangers, which arise from the lack of control of dust,

 23       and such information was suppressed from public dissemination from 1946 to a date
 24       unknown to Plaintiff TERRY LEE SIEGFRIED at this time;
 25             (c)     Commencing in 1930 with the study of mine and mill workers at Asbestos

 26       and Thetford Mines in Quebec, Canada, and the study of the workers at Raybestos-
 27       Manhattan plants in Manheim and Charleston, South Carolina, Defendants, their
 28       "alternate entities," and each of them, knew and possessed medical and scientific

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 1        information of the connection between the inhalation of asbestos fibers and asbestosis,
 2       which information was disseminated through the Asbestos Textile Institute and other
 3       industry organizations to all other Defendants, their "alternate entities," and each of them,
 4       herein;
 5              (d)       Product Defendants, their "alternate entities," and each of them, failed to
 6       warn Plaintiff TERRY LEE SIEGFRIED and others of the nature of said materials which

 7       were dangerous when breathed and which could cause pathological effects without

 8       noticeable trauma, despite the fact that Defendants, their "alternate entities," and each of
 9       them, possessed knowledge and were under a duty to disclose that said materials were
10       dangerous and a threat to the health of persons coming into contact therewith;
11              (e)    Product Defendants, their "alternate entities," and each of them, failed to
12       provide Plaintiff TERRY LEE SIEGFRIED with information concerning adequate
13       protective masks and other equipment devised to be used when applying, mixing, sawing,
14       cutting, installing and sanding the products of the Defendants, their "alternate entities,"
15       and each of them, despite knowing that such protective measures were necessary, and
16       that they were under a duty to disclose that such materials were dangerous and would
17       result in injury to Plaintiff TERRY LEE SIEGFRIED and others applying and installing
18       such material;

19             (f)    Product Defendants, their "alternate entities," and each of them, knew and
20       failed to disclose that Plaintiff TERRY LEE SIEGFRIED and anyone similarly situated,
21       upon inhalation of asbestos would, in time, have a substantial risk of developing
22       irreversible conditions of pneumoconiosis, asbestosis, mesothelioma and/or cancer;
23             (g)    Product Defendants, their "alternate entities," and each of them, failed to
24       provide information of the true nature of the hazards of asbestos materials and that

25       exposure to these material would cause pathological effects without noticeable trauma to

26       the public, including buyers, users, and physicians employed by Plaintiff TERRY LEE
27       SIEGFRIED so that said physicians could not examine, diagnose, and treat Plaintiff and

28       others who were exposed to asbestos, despite the fact that Product Defendants, their

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             "alternate entities," and each of them, were under a duty to so inform and said failure was
  2          misleading; and
  3                 (h)     Product Defendants, their "alternate entities," and each of them, and their
  4          officers, directors, and managing agents participated in, authorized, expressly and
  5          impliedly ratified, and had full knowledge of, or should have known of, each of the acts
  6          set forth herein. Product Defendants, their "alternate entities," and each of them, are
  7          liable for the oppressive and malicious acts of their "alternate entities," and each of them,
  8          and each Defendant's officers, directors, and managing agents participated in, authorized,
  9          expressly and impliedly ratified, and had full knowledge of, or should have known of, the
 10          acts of each of their "alternate entities" as set forth herein.
 11          31.    The herein-described conduct of said Product Defendants, their "alternate
 12   entities," and each of them, was and is willful, malicious, oppressive, outrageous, and in
 13   conscious disregard and indifference to the safety and health of "exposed person," including
 14   Plaintiff TERRY LEE SIEGFRIED, in that Product Defendants, and each of them, continued to
 15 i manufacture, market and/or sell dangerous products known to cause severe, permanent injuries
 16   and death, despite possessing knowledge of the substantial hazards posed by use of their
 17   products, in order to continue to profit financially therefrom. Product Defendants, their
 18   "alternate entities," and each of them, engaged in such conduct so despicable, contemptible,
 19   base, vile, miserable, wretched and loathsome as to be looked down upon and despised by

 20   ordinary people and justifies an award of punitive and exemplary damages pursuant to Civil
 21   Code section 3294. Plaintiff, for the sake of example and by way of punishing said Product
 22   Defendants, seeks punitive damages according to proof.

 23         32.    Product Defendants and each of them engaged in conduct which was intended by
 24   Defendants and each of them to cause injury to the Plaintiff, and despicable conduct which was
 25   carried on by the Defendant with a willful and conscious disregard of the rights or safety of
 26   others, including Plaintiff TERRY LEE SIEGFRIED.
 27         33.    Product Defendants, and each of them, engaged in the despicable conduct

 28   described herein that subjected persons, including Plaintiff TERRY LEE SIEGFRIED, to cruel

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  1   and unjust hardship in the form of sever, debilitating and fatal diseases like asbestosis, lung
 2    cancer and mesothelioma, in conscious disregard of those persons' rights.
 3           34.    As a direct and proximate result of such intentional conduct by Product
 4    Defendants, their "alternate entities" and each of them, Plaintiff TERRY LEE SIEGFRIED
 5    sustained the injuries and damages alleged herein,
 6           WHEREFORE, Plaintiffs pray for judgment against Product Defendants, their "alternate
 7    entities," and each of them, as hereinafter set forth.
 8                                      THIRD CAUSE OF ACTION
 9                    (False Representation Under Restatement of Torts Section 402-B)
10             AS AND FOR A FURTHER, THIRD SEPARATE, AND DISTINCT CAUSE OF
           ACTION FOR FALSE REPRESENTATION UNDER RESTATEMENT OF TORTS
11        SECTION 402-B, PLAINTIFFS COMPLAIN OF DEFENDANTS, DOES 1-450, THEIR
          "ALTERNATE ENTITIES," AND EACH OF THEM, AND ALLEGES AS FOLLOWS:
12
13           35.    Plaintiffs hereby incorporate by reference, as though fully set forth herein, each
14    and every paragraph of the general allegations and the allegations contained in the First and

15    Second Causes of Action herein.
16           36.    At the aforementioned time when Defendants, their "alternate entities," and each
17    of them, researched, manufactured, fabricated, designed, modified, tested or failed to test,
18    inadequately warned or failed to warn, labeled, assembled, distributed, leased, bought, offered
19    for sale, supplied, sold, inspected, serviced, installed, contracted for installation, repaired,
20    marketed, warranted, re-branded, manufactured for others, packaged and advertised the said
21    asbestos and asbestos-containing products, as hereinabove set forth, the Defendants, their

22    "alternate entities," and each of them, expressly and impliedly represented to members of the
23    general public, including the purchasers and users of said product, and other "exposed persons,"
24    including, without limitation, Plaintiff TERRY LEE SIEGFRIED and his employers, that

25    asbestos and asbestos-containing products, were of merchantable quality, and safe for the use for
26 which they were intended.
27          37.    The purchasers and users of said asbestos and asbestos-containing products, and
28    other "exposed persons," including, without limitation, Plaintiff TERRY LEE SIEGFRIED, and

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   1    his employers, relied upon said representations of Defendants, their "alternate entities," and each

   2    of them, in the selection, purchase, and use of asbestos and asbestos-containing products.

   3             38.    Said representation by Defendants, their "alternate entities," and each of them,

   4    were false and untrue, and Defendants knew at the time they were untrue, in that the asbestos

   5    and asbestos-containing products and equipment were not safe for their intended use, nor were

   6    they of merchantable quality as represented by Defendants, their "alternate entities," and each of

   7    them, in that asbestos and asbestos-containing products and equipment have very dangerous

   8    properties and defects whereby said products cause asbestosis, other lung damages, and cancer,

   9   and have other defects that cause injury and damage to the users of said products and other
  10   "exposed persons" thereby threatening the health and life of said persons, including Plaintiff

  11   TERRY LEE SIEGFRIED herein.

 12              39.   As a direct and proximate result of said false representations by Defendants, their

  13   "alternate entities," and each of them, Plaintiffs sustained the injuries and damages alleged

 14    herein.

 15              WHEREFORE, Plaintiffs pray for judgment against Defendants, and their "alternate

 16    entities," and each of them, as hereinafter set forth.

 17                                      FOURTH CAUSE OF ACTION

 18                                (Intentional Tort/Intentional Failure to Warn)

 19           AS AND FOR A FURTHER, FOURTH SEPARATE, AND DISTINCT CAUSE OF
        ACTION FOR INTENTIONAL TORT/INTENTIONAL FAILURE TO WARN, PLAINTIFFS
 20      COMPLAIN OF DEFENDANTS, DOES 1-450, THEIR "ALTERNATE ENTITIES," AND
                       EACH OF THEM, AND ALLEGES AS FOLLOWS:
 21
 22           40.      Plaintiffs hereby incorporates by reference, as though fully set forth herein, each

 23    and every paragraph of the general allegations and the allegations contained in the First through

 24    Third Causes of Action herein, excepting therefrom allegations pertaining to negligence.

 25           41.      At all times pertinent hereto, the Defendants their "alternate entities," and each of

 26    them, owed Plaintiffs a duty, as provided for in Section 1708, 1709, and 1710 of the Civil Code

 27    of the State of California to abstain from injuring the person, property, or rights of the Plaintiffs.

 28    When a duty to act was imposed, as set forth herein, the Defendants, their "alternate entities,"

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 1   and each of them, did do the acts and omissions in violation of that duty, thereby causing injury
 2   to the Plaintiffs as is more fully set forth herein. Such acts and omissions consisted of acts

 3   falling within Section 1709 (Fraudulent Deceit) and Section 1710 (Deceit) of the Civil Code of
 4   the State of California and, more specifically, included suggestions of fact which were not true

 5   and which Defendants, their "alternate entities," and each of them, did not believe to be true;
 6   assertions of fact which were not true and which Defendants, their "alternate entities," and each
 7   of them, had no reasonable ground for believing to be truc, and the suppression of fact when a
 8   duty existed to disclose it, all as more fully set forth herein; the violation of any one such duty

 9   gave rise to a cause of action for violation of rights of the Plaintiffs as provided for in the
10   aforementioned Civil Code sections.
11          42.    Since on or before 1930, the Defendants, their "'alternate entities," and each of
12   them, have known and have possessed the true facts of medical and scientific data and other
13   knowledge which clearly indicated that the asbestos and asbestos-containing products and
14   equipment referred to in Plaintiffs' First Cause of Action were and are hazardous to the health
15   and safety of Plaintiffs, and others in Plaintiff TERRY LEE SIEGFRIED's position working in
16   close proximity with such materials. The Defendants, their "alternate entities," and each of them,

17   have known of the dangerous propensities of the aforementioned materials and products since
18   before that time. With intent to deceive Plaintiff TERRY LEE SIEGFRIED, and others in
19   Plaintiffs' position, and with intent that he and such others should be and remain ignorant of
20   such facts with intent to induce Plaintiffs and such others to alter his and their positions to his
21   and their injury and/or risk and in order to gain advantages, the following acts occurred:
22                 (a)    Defendants, their "alternate entities," and each of them, did not label any of
23          the aforementioned asbestos-containing materials, products, and equipment regarding the
24         hazards of such materials and products to the health and safety of Plaintiffs and others in
25         Plaintiffs' position working in close proximity with such materials until 1964, when
26         certain of such materials were labeled by some, but not all, of Defendants, their "alternate
27         entities," and each of them, since on or before 1930. By not labeling such materials,
28         products, and equipment as to their said hazards, Defendants, their "alternate entities,"

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           and each of them, caused to be suggested as a fact to Plaintiffs that it was safe for
  2        Plaintiff TERRY LEE SIEGFRIED to work in close proximity to such materials, when in

  3        fact it was not true; and Defendants, their "alternate entities," and each of them, did not
  4        believe it to be true;
  5               (b)     Defendants, their "alternate entities," and each of them, suppressed
  6        information relating to the danger of use of the aforementioned materials, products, and
  7       equipment by requesting the suppression of information to the Plaintiffs and the general
  8       public concerning the dangerous nature of the aforementioned materials to workers, by
  9       not allowing such information to be disseminated in a manner which would have given
 10       general notice to the public and knowledge of the hazardous nature thereof when
 11       Defendants, their "alternate entities," and each of them, were bound to disclose such
 12       information;
 13               (c)    Defendants, their "alternate entities," and each of them, sold the
 14       aforementioned products, materials, and equipment to Plaintiff TERRY LEE
 15       SIEGFRIED's employers and others without advising Plaintiff TERRY LEE
 16       SIEGFRIED, his employer, and others of the dangers of use of such materials to persons
 17       working in close proximity thereto when Defendants, their "alternate entities," and each
 18       of them, knew of such dangers, and had a duty to disclose such dangers all as set forth
 19       herein. By said conduct, Defendants, their "alternate entities," and each of them, caused
 20       to be positively asserted to Plaintiff TERRY LEE SIEGFRIED that which was not true

 21       and that which Defendants, their "alternate entities," and each of them had no reasonable
 22       ground for believing to be true, to wit: that it was safe for Plaintiff TERRY LEE
 23       SIEGFRIED to work in close proximity to such materials;
 24              (d)     Defendants, their "alternate entities," and each of them, suppressed from
 25       Plaintiffs medical and scientific data and knowledge of the results of studies including,
 26       but not limited to, the information and contents of the "Lanza Report." Although bound to
 27       disclose it, Defendants, their "alternate entities," and each of them, influenced A. J.
 28       Lanza, M.D. to change his report, the altered version of which was published in Public

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         Health Reports, Volume 50, at page 1, in 1935, thereby causing Plaintiffs and others to be
         and remain ignorant thereof. Defendants, their "alternate entities," and each of them,
 3       caused Asbestos Magazine, a widely disseminated trade journal, to omit mention of
 4       danger, thereby lessening the probability of notice of danger to the users thereof;
 5              (e)    Defendants, their "alternate entities," and each of them, belonged to,
 6       participated in, and financially supported industry organizations which, for and on behalf
 7       of Defendants, their "alternate entities," and each of them, actively promoted the
 8       suppression of information of danger to users of the aforementioned products and
 9       materials, thereby misleading Plaintiff TERRY LEE SIEGFRIED by the suggestions and
10       deceptions set forth above in this cause of action;
11              (f)    Commencing in 1930 with the study of mine and mill workers at Asbestos
12       and Thetford Mines in Quebec, Canada, and the study of the workers at Raybestos-
13       Manhattan plants in Manheim and Charleston, South Carolina, Defendants, their
14       "alternate entities," and each of them, knew and possessed medical and scientific
15       information of the connection between the inhalation of asbestos fibers and asbestosis,
16       which information was disseminated through the industry organizations to all other
17       Defendants, their "alternate entities," and each of them, herein. Defendants, their
18       "alternate entities," and each of them, suggested to the public as a fact that which is not
19       true and disseminated other facts likely to mislead Plaintiffs. Such facts did mislead
20       Plaintiffs and others by withholding the afore-described medical and scientific data and

21       other knowledge and by not giving Plaintiff TERRY LEE SIEGFRIED the true facts
22       concerning such knowledge of danger, which Defendants, their "alternate entities," and
23       each of them, were bound to disclose;

24             (g)    Defendants, their "alternate entities," and each of them, failed to warn
25       Plaintiff TERRY LEE SIEGFRIED and others of the nature of said materials which were
26       dangerous when breathed and which could cause pathological effects without noticeable
27       trauma, despite the fact that Defendants, their "alternate entities," and each of them,
28      possessed knowledge and were under a duty to disclose that said materials were

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      1    dangerous and a threat to the health of persons coming into contact therewith;

  2               (h)    Defendants, their "alternate entities," and each of them, failed to provide

  3        Plaintiff TERRY LEE SIEGFRIED with information concerning adequate protective

  4       masks and other equipment to be used when applying and installing the products of the

  5       Defendants, their "alternate entities," and each of them, despite knowing that such

  6       protective measures were necessary, and that they were under a duty to disclose that such
  7       materials were dangerous and would result in injury to Plaintiff TERRY LEE

  8       SIEGFRIED and others applying and installing such material;
  9              (1)     Defendants, their "alternate entities," and each of them, when under a duty

 10       to so disclose, concealed from Plaintiff TERRY LEE SIEGFRIED the true nature of the

 11       industrial exposure of Plaintiff TERRY LEE SIEGFRIED and knew that Plaintiff and

 12       anyone similarly situated, upon inhalation of asbestos would, in time, develop irreversible

 13       conditions of pneumoconiosis, asbestosis, and/or cancer. Defendants, their "alternate

 14       entities," and each of them, also concealed from Plaintiff TERRY LEE SIEGFRIED and

 15       others that harmful materials to which they were exposed would cause pathological

 16       effects without noticeable trauma;

 17              (j)    Defendants, their "alternate entities," and each of them, failed to provide
 18       information of the true nature of the hazards of asbestos materials and that exposure to

 19       these material would cause pathological effects without noticeable trauma to the public,
 20       including buyers, users, and physicians employed by Plaintiff TERRY LEE SIEGFRIED

 21       so that said physicians could not examine, diagnose, arid treat Plaintiffs and others who

 22       were exposed to asbestos, despite the fact that Defendants, their "alternate entities," and

 23       each of them, were under a duty to so inform and said failure was misleading;

 24              (k)    Defendants, their "alternate entities," and each of them, willfully failed and

 25       omitted to complete and file a First Report of Occupational Injury or Illness regarding
 26       Plaintiffs' injuries, as required by law, and did willfully fail and omit to file a Report of

 27       Injury and Occupational Disease with the State of California. Plaintiff TERRY LEE

 28       SIEGFRIED was in the class of persons with respect to whom a duty was owed to file

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  1           such reports and who would have been protected thereby if the fact of danger from
 2            products complained of had become known;

 3                   (1)    Defendants, their "alternate entities,' and each of them, having such
 4           aforementioned knowledge, and the duty to inform Plaintiff TERRY LEE SIEGFRIED

 5           about the true facts, and knowing the Plaintiff TERRY LEE SIEGFRIED did not possess

 6           such knowledge and would breathe such material innocently, acted falsely and

 7           fraudulently and with full intent to cause Plaintiff TERRY LEE SIEGFRIED to remain

 8           unaware of the true facts and to induce Plaintiff TERRY LEE SIEGFRIED to work in a

 9           dangerous environment, all in violation of Sections 1708, 1709, and 1710 of the Civil

10           Code of the State of California.

11           43.    As a direct and proximate result of such intentional conduct by Defendants, their

12    "alternate entities" and each of them, Plaintiffs sustained and continue to sustain the injuries and

13    damages alleged herein.

14           44.    The herein-described conduct of said Defendants, their "alternate entities," and

15    each of them, was and is willful, malicious, fraudulent, outrageous, and in conscious disregard

16    and indifference to the safety and health of "exposed persons." Plaintiffs, for the sake of

17    example and by way of punishing said Defendants, seek punitive damages according to proof.

18           WHEREFORE, Plaintiffs pray for judgment against Defendants, and their "alternate

19    cntities," and each of them, as hereinafter set forth.

20                                      FIFTH CAUSE OF ACTION
21                                   (Respirator Defendant's Negligence)

22           AS AND FOR A FIFTH FOURTH, SEPARATE, FURTHER AND DISTINCT CAUSE
      OF ACTION, PLAINTIFFS COMPLAIN OF RESPIRATOR DEFENDANTS 3M COMPANY
23    f/k/a MINNESOTA MINING & MANUFACTURING COMPANY, BACOU-DALLOZ USA,
           INC., (sued as successor-in-interest and/or f/k/a W.G.M. SAFETY PRODUCTS d/b/a
24         WILLSON SAFETY PRODUCTS); and DOES 351-450, and THEIR "ALTERNATE
                  ENTITIES," AND EACH OF THEM, AND ALLEGE AS FOLLOWS:
25
26           45.    Plaintiffs incorporate herein by reference, as though fully set forth therein, the

27    general allegations set forth above.

28           46.    Plaintiff, TERRY LEE SIEGFRIED, was given and wore RESPIRATOR

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   1   DEFENDANTS' safety masks while he and others in his immediate presence removed,

   2    replaced, installed, and cleaned up asbestos-containing products at Long Beach Naval Shipyard.

   3          47.    At all times herein mentioned, RESPIRATOR DEFENDANTS were the

   4   successor, successor-in-business, successor-in-product line or a portion thereof, parent,
   5   subsidiary, wholly or partially owned by, or the whole or partial owner of or member in an
   6   entity researching, studying, manufacturing, fabricating, designing, modifying, labeling,
  7    assembling, distributing, buying, offering for sale, supplying, selling, inspecting, marketing,
  8    warranting, re-branding, manufacturing for others, packaging and advertising safety masks.
  9    DEFENDANT                                          ALTERNATE ENTITY
 10
       3M COMPANY                                         MINNESOTA MINING AND
 11                                                       MANUFACTURING
 12    BACOU-DALLOZ USA, INC                              W.G.M. SAFETY PRODUCTS
                                                          WILLSON SAFETY PRODUCTS
 13
 14           48.    At all times herein mentioned, RESPIRATOR DEFENDANTS and their "alternate
 15    entities" were engaged in the business of researching, manufacturing, fabricating, designing,
 16    modifying, labeling, assembling, distributing, buying, offering for sale, supplying, selling,
 17    inspecting, servicing, installing, renting, marketing, warranting, re-branding, manufacturing for

 18    others, packaging, and advertising safety masks.

 19           49.    RESPIRATOR DEFENDANTS knew, or reasonably should have known, that
 20    safety masks were dangerous and were likely to be dangerous when used in their intended and
 21    reasonably foreseeable manner.

 22           50.    At all times herein mentioned, RESPIRATOR DEFENDANTS singularly and

 23 jointly, negligently and carelessly researched, manufactured, fabricated, specified, designed,
 24 modified, tested or failed to test, warned or failed to warn of the health hazards, labeled,
 25    assembled, distributed, bought, offered for sale, supplied, sold, inspected, serviced, installed,
 26    repaired, marketed, warranted, re-branded, manufactured for others, packaged, and advertised
 27 safety masks to be used with asbestos, and were unreasonably dangerous because respirable
 28    asbestos fibers could be and were inhaled while wearing RESPIRATOR DEFENDANTS' safety

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     I    masks resulting in personal injuries to users, consumers, workers, bystanders, and others,

     2    including Plaintiff, TERRY LEE SIEGFRIED.
     3           51.    Said safety masks were used at all times in a manner that was reasonably
     4    foreseeable to RESPIRATOR DEFENDANTS thereby rendering said products unsafe and

  5       dangerous for use by Plaintiff, TERRY LEE SIEGFRIED. Plaintiffs herein allege that

  6       RESPIRATOR DEFENDANTS' negligence caused Plaintiff, TERRY LEE SIEGFRIED, to be
  7       exposed to asbestos released from asbestos containing products, and that RESPIRATOR
  8       DEFENDANTS' negligence and Plaintiff's exposures to asbestos resulting therefrom were
  9      substantial contributing factors in the development of Plaintiff's malignant mesothelioma and
 10      death, and therefore proximately caused Plaintiffs' injuries and damages.
 11             52.     At all relevant times, RESPIRATOR DEFENDANTS had a duty to exercise .
 12      reasonable care while engaging in the activities mentioned above and RESPIRATOR

 13      DEFENDANTS breached said duty of reasonable care in that RESPIRATOR DEFENDANTS
 14      failed to safely and adequately design, manufacture and/or sell its safety masks; failed to test or

 15      adequately test its safety masks; failed to investigate the hazards of its safety masks; failed to

16       instruct on safer uses of its safety masks to minimize or eliminate harmful exposures; failed to
17       warn "exposed persons," including Plaintiff, TERRY LEE SIEGFRIED, of the health hazards of

18       using RESPIRATOR DEFENDANTS' safety masks; failed to warn of the harmful exposures

19       caused by use of RESPIRATOR DEFENDANTS' safety masks; failed to instruct on safer uses

20       of said safety masks to minimize harmful exposures; failed to disclose the known or knowable
21       dangers of using RESPIRATOR DEFENDANTS' safety masks; and/or failed to obtain or offer

22       suitable alternative RESPIRATOR DEFENDANTS' safety masks when such alternatives were

23       available.

24              53.    Since on or before 1930, the hazards and dangerous propensities of the asbestos

25       were both known and knowable to RESPIRATOR DEFENDANTS through the use of medical

26       and/or scientific data and other knowledge available to RESPIRATOR DEFENDANTS at the

27       time of its manufacture, distribution, sale, research, study, fabrication, design, modification,

28       labeling, assembly, leasing, buying, offering for sale, supply, inspection, service, installation,

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   1    contracting for installation, repair, marketing, warranting, re-branding, re-manufacturing for
   2   others, packaging and advertising, of its safety masks, all of which clearly indicated the hazards
  3    and dangerous propensities of exposures to asbestos and that they presented a substantial danger
  4    to end users, including Plaintiff, TERRY LEE SIEGFRIED.
  5           54.    RESPIRATOR DEFENDANTS knew, or reasonably should have known, that is
  6    safety masks would be used during the installation, repair, maintenance, overhaul, removal,
  7    sawing, chipping, hammering, mixing, scraping, sanding, sweeping, breaking, "ripping out,"
  8    cutting, dumping, disturbing or handling of asbestos, or otherwise in the ordinary, intended and
  9    foreseeable use, resulting in the release of airborne hazardous and dangerous asbestos fibers, and
 10    that through such activity, "exposed person," including Plaintiff, TERRY LEE SIEGFRIED,

 11    herein, would be exposed to said hazardous and dangerous asbestos fibers while using

 12    RESPIRATOR DEFENDANTS' safety masks in an intended and reasonably foreseeable
 13    manner.

 14           55.    RESPIRATOR DEFENDANTS' negligent failure to warn was a substantial factor
 15    in causing harm to Plaintiff, TERRY LEE SIEGFRIED. RESPIRATOR DEFENDANTS knew
 16    or reasonably should have known that users, such as Plaintiff, TERRY LEE SIEGFRIED, and
 17    others in his position, working with and in close proximity to asbestos would not realize or
 18    know the danger of asbestos while wearing its safety masks. RESPIRATOR DEFENDANTS

 19    thereafter negligently failed to adequately warn or instruct of the dangers of asbestos while using
 20    its safety masks, as reasonable designers, manufacturers, distributors, sellers, or suppliers, under

 21    the same or similar circumstances, would have warned of these dangers to avoid asbestos
 22    exposures, a foreseeable risk of harm.
 23           56.    At all relevant, RESPIRATOR DEFENDANTS were additionally negligent

 24    because they failed to recall/retrofit their safety masks in that RESPIRATOR DEFENDANTS
 25   manufactured/distributed/sold products, that RESPIRATOR DEFENDANTS knew or
    I
 26 i reasonably should have known were dangerous or were likely to be dangerous when used in a
 27    reasonably foreseeable manner; that RESPIRATOR DEFENDANTS became aware of the
28     defectiveness of their safety masks after the product was sold to Plaintiff's employer; that

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 1   RESPIRATOR DEFENDANTS failed to recall/retrofit or warn of the dangers of using their
 2   safety masks; that a reasonable manufacturer/distributor/seller under the same or similar
 3   circumstance would have recalled/retrofitted the product; that Plaintiff TERRY LEE
 4   SIEGFRIED, was injured by asbestos using RESPIRATOR DEFENDANTS' safety masks; and
 5   that RESPIRATOR DEFENDANTS' failure to recall/retrofit their masks was a substantial
 6   factor in causing Plaintiff, TERRY LEE SIEGFRIED'S injuries and death.
 7         57.    Plaintiffs further allege that RESPIRATOR DEFENDANTS also engaged in the
 8   following wrongful acts:
 9                (a)    RESPIRATOR DEFENDANTS suppressed from all consumers, including
10         Plaintiff, TERRY LEE SIEGFRIED, medical and scientific information concerning the
11         health hazards associated with inhalation of asbestos, including the substantial risk of

12         injury or death therefrom. Although RESPIRATOR DEFENDANTS knew of the
13         substantial risks associated with exposure to asbestos, they willfully and knowingly
14         concealed such information from the users of their asbestos and/or asbestos-containing
15         products in conscious disregard of the rights, safety and welfare of "exposed person,"
16         including Plaintiff, TERRY LEE SIEGFRIED;
17                (b)   RESPIRATOR         DEFENDANTS          belonged    to,   participated in, and
18         financially supported industry organizations, including but not limited to the Gypsum
19         Association, Asbestos Information Association, Industrial Hygiene Foundation and
20         others, which, for and on behalf of RESPIRATOR DEFENDANTS actively promoted the
21         suppression of information about the dangers of asbestos to users of the aforementioned
22         products and materials, thereby misleading Plaintiff, TERRY LEE SIEGFRIED, as to the
23         safety of their products. Through their participation and association with such industry
24         organizations, RESPIRATOR DEFENDANTS knowingly and deliberately concealed and
25         suppressed the true information regarding asbestos and its dangers, and propagated
26         misinformation intended to instill a false security about the asbestos, The Dust Control
27         Committee, which changed its name to the Air Hygiene Committee, of the Asbestos
28        Textile Institute, was specifically enlisted to study the subject of dust control. Discussions

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      1    in this committee were held many times regarding the dangers inherent in asbestos and
   2       the dangers, which arise from the lack of control of dust, and such information was
   3      suppressed from public dissemination from 1946 to a date unknown to Plaintiff, TERRY
   4      LEE SIEGFRIED, at this time;
   5             (c)    Commencing in 1930 with the study of mine and mill workers at Asbestos
   6      and Thetford Mines in Quebec, Canada, and the study of the workers at Raybestos-
   7      Manhattan plants in Manheim and Charleston, South Carolina, RESPIRATOR
   8      DEFENDANTS knew and possessed medical and scientific information of the
  9       connection between the inhalation of asbestos fibers and asbestosis, which information
 10 I     was disseminated through the Asbestos Textile Institute and other industry organizations
 11       to RESPIRATOR DEFENDANTS. RESPIRATOR DEFENDANTS thereafter failed to
 12       provide this information to consumers;
 13              (d)    RESPIRATOR DEFENDANTS failed to warn Plaintiff, TERRY LEE
 14       SIEGFRIED, and others of the nature of said materials which were dangerous when
 15       breathed and which could cause pathological effects without noticeable trauma, despite
 16       the fact that RESPIRATOR DEFENDANTS and its "alternate entities" possessed
 17       knowledge and were under a duty to disclose that said materials were dangerous and a
 18 it    threat to the health of persons coming into contact therewith;

 19              (e)    RESPIRATOR DEFENDANTS failed to provide Plaintiff, TERRY LEE
 20 ,1    SIEGFRIED, with information concerning adequate protective masks and other
 21       equipment devised to be used when applying, mixing, sawing, cutting, installing and
 22       sanding asbestos containing products, despite knowing that such protective measures
 23       were necessary, and that they were under a duty to disclose that such materials were
 24       dangerous and would result in injury to Plaintiff, TERRY LEE SIEGFRIED, and others
 25       applying and installing such material;
 26             (f)    RESPIRATOR DEFENDANTS knew and failed to disclose that Plaintiff,
 27       TERRY LEE SIEGFRIED, and anyone similarly situated, upon inhalation of asbestos
 28       would, in time, have a substantial risk of developing irreversible conditions of

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     1          pneumoconiosis, asbestosis, mesothelioma and/or cancer;
     2                  (g)    RESPIRATOR DEFENDANTS failed to provide information of the true
 3              nature of the hazards of its masks and asbestos and that exposure to asbestos would cause
 4              pathological effects without immediate, noticeable trauma to the public, including buyers,
 5              users, and physicians employed by Plaintiff, TERRY LEE SIEGFRIED, so that said
 6              physicians could not examine, diagnose, and treat Plaintiff and others who were exposed
 7              to asbestos, despite the fact that RESPIRATOR DEFENDANTS were under a duty to so
 8              inform and said failure was misleading;
 9                     (h)     RESPIRATOR DEFENDANTS and its officers, directors, and managing
10              agents participated in, authorized, expressly and impliedly ratified, and had full
11              knowledge of, or should have known of, each of the acts set forth herein. RESPIRATOR
12              DEFENDANTS is liable for the oppressive and malicious acts of their "alternate entities"

13              and each Defendant's officers, directors, and managing agents participated in, authorized,

14              expressly and impliedly ratified, and had full knowledge of, or should have known of, the
15              acts of each of their "alternate entities" as set forth herein.
16              58.    The herein-described conduct of said RESPIRATOR DEFENDANTS was and is
17       willful, malicious, oppressive, outrageous, and in conscious disregard and indifference to the
18       safety and health of "exposed persons," including Plaintiff, JERRY LEE SIEGFRIED, in that
19       RESPIRATOR DEFENDANTS continued to manufacture, market, supply, distribute and/or sell

20       dangerous safety masks known to allow exposures to asbestos, and to cause severe, permanent
21       injuries and death, despite possessing knowledge of the substantial hazards posed by use of its

22       safety masks, in order to continue to profit financially therefrom. RESPIRATOR

23       DEFENDANTS engaged in such conduct so despicable, contemptible, base, vile, miserable,
24       wretched and loathsome so as to be looked down upon and despised by ordinary people and

25       justifies an award of punitive and exemplary damages pursuant to Civil Code section 3294.
26       Plaintiffs, for the sake of example and by way of punishing said RESPIRATOR

27       DEFENDANTS, seek punitive damages according to proof

28             59,    RESPIRATOR DEFENDANTS engaged in conduct which was intended by

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   1    RESPIRATOR DEFENDANTS to cause injury to the Plaintiff, and its despicable conduct

   2    which was carried on by the RESPIRATOR DEFENDANTS with a willful and conscious

   3    disregard of the rights or safety of others, including Plaintiff, TERRY LEE SIEGFRIED.

   4           60.    RESPIRATOR DEFENDANTS engaged in the despicable conduct described

   5   herein that subjected persons, including Plaintiff, TERRY LEE SIEGFRIED, to cruel and unjust

   6   hardship in the form of severe, debilitating and fatal diseases like asbestosis, lung cancer and

   7   mesothelioma, in conscious disregard of those persons' rights.
  8            61.    As a direct and proximate result             of the    conduct    of RESPIRATOR
  9    DEFENDANTS, Plaintiff, TERRY LEE SIEGFRIED, was exposed to asbestos which caused

 10    severe and permanent injury and death to the Plaintiff, the nature of which, along with the date

 11    of Plaintiff diagnosis and death and the date he learned such injuries were attributable to

 12    exposure to RESPIRATOR DEFENDANTS. Plaintiffs are now informed and believe, and

 13    thereon allege, that progressive lung disease, cancer and other serious diseases are caused by

 14    inhalation of asbestos fibers without immediate, perceptible trauma and that said disease results

 15    from exposure to asbestos.

 16           62.    Plaintiff, TERRY LEE SIEGFRIED suffered from malignant mesothelioma,

 17    caused by RESPIRATOR DEFENDANTS' negligence and Plaintiffs exposure to asbestos

 18    because of his reliance and use of RESPIRATOR DEFENDANTS' safety masks while

 19    handling, cutting, sawing, lathing or otherwise manipulating asbestos and products containing

 20    asbestos including those products identified in paragraph 3 above. Plaintiff, TERRY LEE

 21    SIEGFRIED, was not aware at the time of exposure that RESPIRATOR DEFENDANTS' safety

 22    masks presented any risk of injury and/or disease.

 23           63,    As a direct and proximate result of such intentional conduct by RESPIRATOR

 24    DEFENDANTS, Plaintiff, TERRY LEE SIEGFRIED, sustained the injuries and damages

 25    alleged herein, Plaintiff, TERRY LEE SIEGFRIED, suffered injuries to his person, body and

 26    health, and death, including, but not limited to, pain, discomfort, loss of weight, loss of appetite,

 27    fatigue, somnolence, lethargy, dyspnea, dysphagia, and other physical symptoms, and the mental

 28    and emotional distress attendant thereto, all to Plaintiffs' general damage in a sum in excess of

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  1    the jurisdictional limit of a limited civil case.
  2           64.       As a direct and proximate result of the aforesaid conduct of RESPIRATOR
  3   DEFENDANTS, Plaintiffs incurred, are presently incurring, and will incur in the future, liability
  4   for physicians, surgeons, nurses, hospital care, medicine, hospices, X-rays and other medical

  5   treatment, the true and exact amount thereof being presently unknown to Plaintiffs, subject to
  6   proof at trial.

  7           65.       As a further direct and proximate result of the said conduct of the RESPIRATOR

  8   DEFENDANTS, Plaintiffs incurred, and will incur, loss of income, wages, profits and

  9   commissions, a diminishment of earning potential, and other pecuniary losses, the true and exact

 10   amount thereof being presently unknown to Plaintiffs, subject to proof at trial.

 11          WHEREFORE, Plaintiffs pray for judgment against RESPIRATOR DEFENDANTS as
 12   hereinafter set forth.
13                                         SIXTH CAUSE OF ACTION
14                                    (Respirator Defendants' Strict Liability)
15           AS AND FOR A SIXTH, SEPARATE, FURTHER AND DISTINCT CAUSE OF
          ACTION FOR STRICT LIABILITY, PLAINTIFFS COMPLAIN OF RESPIRATOR
16      DEFENDANTS AND THEIR "ALTERNATE ENTITIES" AND ALLEGE AS FOLLOWS:

17           66.        Plaintiffs incorporate herein by reference, as though fully set forth therein, each
18    and every one of the general allegations and the allegations contained in paragraphs 1, 2, 3, 5,

19    and 45-65 above.

20           67.        Plaintiff, TERRY LEE SIEGFRIED, was given and wore RESPIRATOR
21    DEFENDANTS' safety masks while he and others in his immediate presence removed,

22    replaced, installed, and cleaned up asbestos-containing products at Long Beach Naval Shipyard,

23           68.    RESPIRATOR DEFENDANTS sold safety masks and failed to adequately warn
24    or instruct of the known and knowable dangers and risks of the ordinary, intended, and
25    foreseeable use of its safety masks, which dangers and risks would not have been, and were not,

26    recognized by RESPIRATOR DEFENDANTS' customers or ordinary consumers of the masks,

27    including Plaintiff; TERRY LEE SIEGFRIED.

28           69.    The lack of sufficient instructions and/or warnings was a substantial factor in

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       causing harm to Plaintiff, TERRY LEE SIEGFRIED, and others in Plaintiff's position working
  2    with and in close proximity to such products.
  3           70.    RESPIRATOR DEFENDANTS' safety masks were defective and unsafe for their

  4    intended purpose and foreseeable use in that, when used said masks would result in inhalation of
  5   hazardous and dangerous asbestos fibers by persons wearing the masks, including Plaintiff,
  6   TERRY LEE SIEGFRIED. The defect existed in all of said products when they left the
  7   possession of RESPIRATOR DEFENDANTS.
  8           71.    At the time RESPIRATOR DEFENDANTS' safety masks were used by Plaintiff
  9   the products were in substantially the same condition as when they left the possession of
 10   RESPIRATOR DEFENDANTS and/or any changes made to the products after they left the

 11   possession of RESPIRATOR DEFENDANTS were reasonably foreseeable. RESPIRATOR

 12   DEFENDANTS' safety masks were used by Plaintiff, TERRY LEE SIEGFRIED, in a way that
 13   was reasonably foreseeable to RESPIRATOR DEFENDANTS. The defect in said products was
 14   a substantial factor in causing harm and personal injuries to Plaintiff, TERRY LEE
 15   SIEGFRIED, including malignant mesothelioma, since they were being used in a reasonably
 16   foreseeable manner, thereby rendering said products defective, unsafe, and unreasonably
 17   dangerous for their ordinary and intended use.
 18          72.    As a direct and proximate result of the actions and conduct outlined herein,

 19   RESPIRATOR DEFENDANTS' safety masks failed to perfo-rm as safely as an ordinary
 20   company or consumer would have expected in that RESPIRATOR DEFENDANTS' safety
 21   masks allowed respirable asbestos fibers to be inhaled from asbestos products during the safety
 22   masks ordinary and intended use, and these hazardous asbestos exposures cause severe and fatal

 23   diseases, including asbestosis, lung cancer, mesothelioma and other cancers in humans.

 24          73.    Plaintiffs further allege Plaintiff, TERRY LEE SIEGFRIED, and his employers

 25   were unaware of the defect in RESPIRATOR DEFENDANTS' safety masks and further
 26   unaware of the harmful exposures to asbestos that would occur when using RESPIRATOR
27    DEFENDANTS' safety masks, and this failure of RESPIRATOR DEFENDANTS' safety masks
28    to perform as safely as expected was a substantial factor in causing his injuries.

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               74.   As a direct and proximate result of the actions, defects and conduct outlined
 2    herein, Plaintiff, TERRY LEE SIEGFRIED, suffered the injuries and damages alleged herein
 3             75.   RESPIRATOR DEFENDANTS and their officers, directors, and managing agents
 4    participated in, authorized, expressly and impliedly ratified, and had full knowledge of, or
 5   should have known of, each of the acts set forth herein. RESPIRATOR DEFENDANTS are
 6    liable for the oppressive and malicious acts of its "alternate entities" and its officers, directors,

 7   and managing agents participated in, authorized, expressly and impliedly ratified, and had full
 8   knowledge of, or should have known of, the acts of each of their "alternate entities" as set forth
 9   herein.
10             76.   The herein-described conduct of said RESPIRATOR DEFENDANTS was and is
11   willful, malicious, oppressive, outrageous, and in conscious disregard and indifference to the
12   safety and health of "exposed person," including Plaintiff, TERRY LEE SIEGFRIED, in that
13   RESPIRATOR DEFENDANTS continued to manufacture, market and/or sell dangerous
14   products known to cause severe, permanent injuries and death, despite possessing knowledge of
15   the substantial hazards posed by use of their products, in order to continue to profit financially
16   therefrom. RESPIRATOR DEFENDANTS engaged in such                          conduct so despicable,
17   contemptible, base, vile, miserable, wretched and loathsome as to be looked down upon and
18   despised by ordinary people and justifies an award of punitive and exemplary damages pursuant
19   to Civil Code section 3294. Plaintiffs, for the sake of example and by way of punishing
20   RESPIRATOR DEFENDANTS seeks punitive damages according to proof.
21          77.      RESPIRATOR DEFENDANTS engaged in conduct which was intended to cause
22   injury to the Plaintiff, and despicable conduct which was carried on by RESPIRATOR
23   DEFENDANTS with a willful and conscious disregard of the rights or safety of others,
24   including Plaintiff, TERRY LEE SIEGFRIED.
25          78.      RESPIRATOR DEFENDANTS engaged in the despicable conduct described
26   herein that subjected persons, including Plaintiff, TERRY LEE SIEGFRIED, to cruel and unjust
27   hardship in the form of severe, debilitating and fatal diseases like asbestosis, lung cancer and
28   mesothelioma, in conscious disregard of those persons' rights.

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              79.     As a direct and proximate result of such intentional conduct by RESPIRATOR
       DEFENDANTS Plaintiff, TERRY LEE SIEGFRIED, sustained the injuries and damages

  3    alleged herein.

  4           WHEREFORE, Plaintiffs pray for judgment against RESPIRATOR DEFENDANTS as
  5    hereinafter set forth.
  6                                   SEVENTH CAUSE OF ACTION

  7                                          (Loss of Consortium)

  8          AS AND FOR A FURTHER, SEVENTH SEPARATE, AND DISTINCT CAUSE OF
       ACTION FOR LOSS OF CONSORTIUM, PLAINTIFF TERRI SIEGFRIED COMPLAINS OF
  9     DEFENDANTS, DOES 1-450, THEIR "ALTERNATE ENTITIES," AND EACH OF THEM,
                              AND ALLEGES AS FOLLOWS:
 10
 11           80.    Plaintiff TERRI SIEGFRIED incorporates by reference, each and every paragraph

 12   of the First through Sixth Causes of Action herein.

 13           81.    Plaintiffs TERRY LEE SIEGFRIED and TERRI SIEGFRIED were married on

 14   July 7, 1991, and at all times relevant to this action were, and are now, husband and wife.
 15          82.     Prior to Plaintiff TERRY LEE SIEGFRIED's injuries as alleged, he was able and
 16   did perform duties as a spouse. Subsequent to the injuries and as a proximate result thereof,

 17   Plaintiff TERRY LEE SIEGFRIED has been unable to perform the necessary duties as a spouse

 18   and the work and services usually performed in the care, maintenance, and management of the

 19   family home, and he will be unable to perform such work, service and duties in the future, As a

 20   proximate result thereof, TERRI SIEGFRIED has been permanently deprived and will be
 21   deprived of the consortium of her spouse, including the performance of duties, all to his

 22   damages, in an amount presently unknown but which will be proved at the time of trial.

 23          83.     Plaintiff TERRI SIEGFRIED's discovery of this cause of her loss of consortium,

 24   as herein alleged, first occurred within one year of the date this Complaint was filed.
 25          84.    As a direct and proximate result of the acts of Defendants, their "alternate
 26   entities," and each of them, and the severe injuries caused thereby to Plaintiff TERRY LEE

 27   SIEGFRIED, as set forth in this complaint, Plaintiff TERRI SIEGFRIED has suffered, and for a

 28   long period of time will continue to suffer, loss of consortium, including, but not limited, loss of

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  1   services, marital relations, society, comfort, companionship, love and affection of said spouse,
  2   and has suffered severe mental and emotional distress and general nervousness as a result
  3   thereof.
  4          WHEREFORE, Plaintiffs pray for judgment against Defendants, their "alternate entities,"
  5   and each of them, in an amount to be proved at trial in each individual case, as follows:
  6          Plaintiff TERRY LEE SIEGFRIED:
  7          1.     For Plaintiffs general damages according to proof;
  8          2.     For Plaintiff's loss of income, wages, and earning potential according to proof;
  9          3.     For Plaintiff's medical and related expenses according to proof;
 10          Plaintiff TERM SIEGFRIED:
11           4.     For Plaintiffs damages for loss of consortium and/or society according to proof;
12           Plaintiffs TERRY LEE SIEGFRIED and TERRI SIEGFRIED:
13           5.     For Plaintiffs' cost of suit herein;
14           6.     For exemplary or punitive damages according to proof;
15           7.     For damages for fraud according to proof; and
16           8.     For such other and further relief as the Court may deem just and proper, including
17    costs and prejudgment interest as provided in C.C.P. section 998, C.C.P. section 1032, and
18    related provisions of law.

19
20    DATED: January 26, 2018            THE LANIER LAW FIRM

21
22
23
                                              Mark A. Linder
24                                            Case A. Dam
                                              Attorneys for Plaintiffs
25
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27
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  1                                  DEMAND FOR JURY TRIAL

  2        Plaintiffs hereby demand trial by jury as to all issues so triable.

  3   DATED: January 26, 2018          THE LANIER LAW FIRM

  4
  5
                                       By:
  6
                                             Mark A. Linder
  7                                          Case A. Dam
                                             Attorneys for Plaintiffs
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  1                                            EXHIBIT "A"
  2          Plaintiff TERRY LEE SIEGFRIED's exposure to asbestos and asbestos-containing

  3   products occurred at various locations including but not limited to within the States of

  4   California„ and additional sites including, but not limited to:

  5       Employer               Location of Exposure                Job Title          Date(s)
      Long Beach Naval        Various, including, but not   Various, including but   Approx. 1969-
  6   Shipyard                limited to: Long Beach        not limited to:          1996
                              Naval Shipyard; Long          Electrician, Marine
  7
                              Beach, CA; Roark (FF-         Electrician
  8                           1053); Gray (FF-1054);
                              Hepburn (FF-1055);
  9                           Meyerkord (FF-1058);
                              Lockwood (FF-1064);
 10
                              Markin Shields (FF-1066);
 11                           Francis Hammonds (FF-
                              1067); Downes (FF-1070);
 12                           Cook (Ff-1083); Barbey
                              (FF-1088); Ogden (LPD-
 13
                              5); Duluth (LPD-6;);
 14                           Cleveland (LPD-7);
                              Dubuque (LPD-8); Denver
 15                          (LPD-9); Juneau (LPD-
                             10); Norton Sound (AVM-
 16
                              1); St. Paul (CA-73);
17                            Chicago (CA-136); New
                             Jersey (BB -62); Missouri
 18                          (BB-63); Hull (DD-945);
                             Morton (DD-948); Lofberg
19
                             (DD-759); Tripoli (LPH-
20                           10); Paul Foster (DD-964);
                             Kinkaid (DD-965); Hewitt
21                           (DD-966); David R Ray
                             (DD-971); Oldendorf (DD-
22
                             972); John Young (DD -
23                           973); Jouett (CG-29);
                             Home (CG-30); Sterett
24                           (CG-31); Fox (CG-33);
                             Tarawa (LHA-1); Belleau
25
                             Wood (LHA-3); Peleliu
26                           (LHA-5); Henry B. Wilson
                             (DDG-7); Towers (DDG-
27                           9); Robison (DDG-12);
                             Hoel (DDG-13); Waddell
28
                             (DDG-24)
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     1                                         EXHIBIT "B"
  2            Plaintiff TERRY LEE SIEGFRIED's exposure to Defendants' Products caused severe
     3   and permanent iniury to Plaintiff TERRY LEE SIEGFRIED including, but not limited to,
  4      mesothelioma. Plaintiff was diagnosed with mesothelioma on or about October of 2017.
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                         Exhibit B
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                    11
                    12                              UNITED STATES DISTRICT COURT
                    13              CENTRAL DISTRICT OF CALIFORNIA — WESTERN DIVISION
                    14
                    15   TERRY LEE SIEGFRIED and TERRI               Case No.
                    16   SIEGFRIED,
                                                                     DEFENDANT ELLIOTT
                    17                           Plaintiffs,         COMPANY'S NOTICE OF
                                                                     REMOVAL OF ACTION
                    18                     vs.
                                                                     UNDER 28 U.S.C. 1442(a)(1)
                    19                                               FEDERAL OFFICER
                         3M COMPANY (f/k/a MINNESOTA
                    20   MINING & MANUFACTURING                      (Los Angeles County Superior Court
                         COMPANY); AIR & LIQUID SYSTEMS              Case No. BC691900)
                    21   CORPORATION (sued individually and
                    22   as successor-in-interest to BUFFALO
                         PUMPS, INC.; ABB, INC. individually
                    23   and as successor-in-interest to ITE
                    24   IMPERIAL CO f/k/a ITE CIRCUIT
                         BREAKER COMPANY); ALFA LAVAL
                    25   INC. (sued individually and as successor-
                    26   in-interest to THE DELAVAL
                         SEPARATOR COMPANY and
                    27
                         SHARPLES CORPORATION);
MORGAN, LEWIS       28   ATWOOD & MORRILL CO., INC.,
  BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES
                                                                       DEFENDANT ELLIOTT COMPANY'S
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                     1   d/b/a WEIR VALVES & CONTROLS
                     2   USA, INC.; AURORA PUMP
                         COMPANY; A.O. SMITH CORP.,
                     3   BACOU-DALLOZ USA, INC. (sued as
                     4   successor-in-interest and/or f/k/a W.G.M.
                         SAFETY PRODUCTS d/b/a WILLSON
                     5   SAFETY PRODUCTS); CARRIER
                     6   CORPORATION; CARVER PUMP
                         COMPANY; CBS CORPORATION (a
                     7   Delaware Corporation) f/k/a VIACOM,
                     8   INC., as successor-by-merger to CBS
                         CORPORATION (a Pennsylvania
                     9   Corporation) f/k/a WESTINGHOUSE
                    10   ELECTRIC CORPORATION, and also as
                         successor-in-interest to BF
                    11   STURTEVANT; CLA-VAL CO.;
                    12   CLEAVER-BROOKS, INC. (sued
                         individually and as successor-in-interest to
                    13   DAVIS ENGINEERING COMPANY
                    14   formerly known as AQUA-CHEM, INC.
                         doing business as CLEAVER-BROOKS
                    15   DIVISION); COOPER WIRING
                    16   DEVICES, a division of COOPER
                         INDUSTRIES (individually and as
                    17   successor-in-interest to ARROW-HART &
                    18   HEGEMAN, INC.); COPES-VULCAN,
                         INC.; CRANE CO. (sued individually
                    19   and as successor-in-interest to
                 20      COCHRANE CORPORATION;
                         CHAPMAN VALVE COMPANY and
                 21      JENKINS VALVES); CRANE
                 22      ENVIRONMENTAL, INC. (sued
                         individually and as successor-in-interest to
                 23      COCHRANE CORPORATION); EATON
                 24      CORPORATION (sued individually and
                         as successor-in-interest to CUTLER-
                 25
                         HAMMER INC.); EATON
                 26      ELECTRICAL, INC. (sued individually
                         and as successor-in-interest to CUTLER-
                 27
                         HAMMER INC.); ELLIOT
                 28      TURBOMACHINERY COMPANY
MORGAN, LEWIS &
  BOCKIUS
 ATTORNEYS AT LAW
   Los ANGELES                                                          DEFENDANT ELLIOTT COMPANY'S
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                     1   a/k/a ELLIOTT COMPANY; EMERSON
                     2   ELECTRIC CO. (individually and as
                         successor-in-interest to KEYSTONE
                     3   VALVES AND CONTROLS, INC.);
                     4   FISHER CONTROLS
                         INTERNATIONAL LLC f/k/a FISHER
                     5   GOVERNOR COMPANY; FMC
                     6   CORPORATION (sued individually and
                         as successor-in-interest to NORTHERN
                     7   PUMP COMPANY and PEERLESS
                     8   PUMP COMPANY); FOSTER
                         WHEELER ENERGY
                     9   CORPORATION; FRASER BOILER
                    10   SERVICE, INC.; GARDNER-
                         DENVER, INC.; GENERAL
                    11   DYNAMICS CORPORATION
                    12   (successor-in-interest to BATH IRON
                         WORKS LTD. f/k/a THE HYDE
                    13   WINDLASS COMPANY); GENERAL
                    14   ELECTRIC COMPANY (individually
                         and as successor-in-interest to
                    15   MASONEILAN, and MANNING,
                    16   MAXWELL & MOORE, INC.); GIBBS
                         & COX, INC.; THE GORMAN-RUPP
                    17   COMPANY (individually and as
                 18      successor-in-interest to PATTERSON
                         PUMP COMPANY, and C.H.
                 19      WHEELER); GOULDS
                 20      ELECTRONICS (as successor-in-
                         interest to ITE CIRCUIT BREAKER
                 21      CO.); GOULDS PUMPS, INC.;
                 22      HARDIE-TYNES CO., INC. (sued
                         individually and as successor-in-interest
                 23      to HARDIE-TYNES
                 24      MANUFACTURING CO. and HARDIE-
                         TYNES MANUFACTURING
                 25
                         COMPANY); HARDIE-TYNES
                 26      FOUNDRY & MACHINE CO. (sued
                         individually and as successor-in-interest
                 27
                         to HARDIE-TYNES
                 28      MANUFACTURING CO. and HARDIE-
MORGAN, LEWIS &
  BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES                                                       DEFENDANT ELLIOTT COMPANY'S
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                    1   TYNES MANUFACTURING
                   2    COMPANY); HARDIE-TYNES, LLC
                        (sued individually and as successor-in-
                   3    interest to HARDIE-TYNES
                    4   MANUFACTURING CO. and HARDIE-
                        TYNES MANUFACTURING
                    5   COMPANY); HERCULES
                    6   MANUFACTURING COMPANY,
                        INC; HOWDEN NORTH AMERICA,
                    7   INC. f/k/a HOWDEN BUFFALO, INC.
                    8   (individually and as successor-in-interest
                        to BUFFALO FORGE COMPANY);
                    9   IMO INDUSTRIES, INC. (sued
                  10    individually and as successor-in-interest
                        to DELAVAL TURBINE, INC.);
                  11    INGERSOLL-RAND COMPANY
                  12    (individually and as successor-in-interest
                        to TERRY STEAM TURBINE); ITT
                  13    INDUSTRIES, INC. (sued individually
                  14    and as successor-in-interest to BELL &
                        GOSSETT, FOSTER ENGINEERING
                  15    and HOFFMAN SPECIALTY); KERR
                  16    MACHINERY CO. n/k/a KERR PUMP
                        & SUPPLY INC.; LAWLER
                  17    MANUFACTURING COMPANY,
                  18    INC. f/k/a LAWLER AUTOMATIC
                        CONTROLS, INC.; THE MARLEY-
                  19    WYLAIN COMPANY; MUELLER
                  20    STEAM SPECIALITY COMPANY
                        n/k/a WATTS WATER
                  21    TECHNOLOGIES, INC.; THE NASH
                  22    ENGINEERING COMPANY;
                        OWENS-ILLINOIS, INC.; PPG
                  23    INDUSTRIES, INC. (individually and as
                  24    successor-in-interest to AKZO NOBEL
                        INC., and DEVOE COATINGS);
                  25
                        QUIMBY EQUIPMENT COMPANY;
                  26    ROBERTSHAW CONTROLS
                        COMPANY (individually and as
                  27
                        successor-in-interest to FULTON
                  28    SYLPHON COMPANY); ROCKWELL
MCRGAN, LEWIS &
  BCCKIUS LLP
 ATTORNEYS AT LAW
                                                                     DEFENDANT ELLIOTT COMPANY'S
    Los ANGELES

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                       1   AUTOMATION INC. (individually and
                       2   as successor by merger to ALLEN-
                           BRADLEY COMPANY LLC and
                       3   ROSTONE CORPORATION); ROSS
                       4   OPERATING VALVE COMPANY
                           d/b/a ROSS CONTROLS; RSCC WIRE
                       5   & CABLE, LLC.; SCHNEIDER
                       6   ELECTRIC, USA, INC., f/k/a SQUARE
                           D COMPANY; SIEMENS
                       7   CORPORATION (individually and as
                       8   successor-in-interest to ITE CIRCUIT
                           BREAKER CO.); SIEMENS ENERGY
                       9   INC. (individually and as successor by
                   10      merger to DRESSER-RAND GROUP,
                           INC.); SPIRAX SARCO, INC.; SPX
                   11      CORPORATION (sued individually and
                   12      as successor-in-interest to THE MARLEY
                           COMPANY, WYLAIN, INC., WEIL-
                   13      McCLAIN, a division of WYLAIN, INC.,
                   14      and WEIL-McCLAIN); STERLING
                           FLUID SYSTEMS, (USA) LLC f/k/a
                   15      PEERLESS PUMP COMPANY;
                   16      SULZER PUMPS HOUSTON, INC.
                           (sued individually and as successor-in-
                   17      interest to PACO PUMPS f/k/a PACIFIC
                   18      PUMPING COMPANY); SUPERIOR-
                           LIDGERWOOD-MUNDY (individually
                   19      and as successor-in-interest to M.T.
                   20      Davidson Co.); VELAN VALVE CORP.;
                           VIAD CORP f/k/a THE DIAL
                   21      CORPORATION (sued individually and
                   22      as successor-in-interest to GRISCOM-
                           RUSSELL COMPANY); VIKING
                   23      PUMP, INC., a Unit of IDEX
                   24      Corporation; WARREN PUMPS, LLC
                           (individually and as successor-in-interest
                   25
                           to QUIMBY PUMP COMPANY); WEIL-
                   26      McCLAIN; WEIL-McCLAIN, a division
                           of THE MARLEY COMPANY (sued
                   27
                           individually and as successor-in-interest to
                   28      WYLAIN CO.); WILO USA LLC
MORGAN, LEWIS &
  BOCKIUS LLP
 A 11 ORNEYS AT LAN:
    LCAS ANGFLES                                                          DEFENDANT ELLIOTT COMPANY'S
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                    1   (individually and as successor-in-interest
                    2   to WEIL PUMP COMPANY, INC.);
                        WEIR VALVES & CONTROLS USA
                    3   INC. filda ATWOOD & MORRILL; THE
                    4   WILLIAM POWELL COMPANY; and
                        DOES 1-450, inciusive,
                    5
                                          Defendants.
                    6
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MORGAN, LEWIS &
  BOCKIUS LLP
 ATTORNEYS AT Law
                                                                     DEFENDANT ELLIOTT COMPANY'S
   Los ANGELES

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                     1             TO ALL PARTIES, THEIR COUNSEL OF RECORD, AND THE
                     2   CLERK OF THE ABOVE-ENTITLED COURT:
                     3             PLEASE TAKE NOTICE THAT Defendant Elliott Company ("Elliott")
                     4   hereby gives notice of the removal of this action filed by Plaintiffs Terry Lee
                     5   Siegfried ("Mr. Siegfried) and Terri Siegfried ("Mrs. Siegfried") (collectively,
                     6   "Plaintiffs") from the Superior Court of the State of California, County of Los
                     7   Angeles, to the United States District Court for the Central District of California
                     8   pursuant to 28 U.S.C. §§ 1442(a)(1) and 1446, whereby this Court has subject
                     9   matter jurisdiction to adjudicate claims with respect to persons acting at the
                    10   direction of an officer or agency of the United States. Elliott's grounds for removal
                    11   are more particularly stated as follows:
                    12                                                  I.
                    13                       PROCEDURAL HISTORY AND BACKGROUND
                    14            1.       Plaintiffs filed their Complaint against Elliott, among numerous other
                    15   defendants, on or about January 28, 2018. A conformed copy of the Complaint is
                    16   attached hereto as Exhibit A.
                    17            2.       Elliott was served with the Complaint on or about January 30, 2018.
                   18             3.       Plaintiffs allege that Mr. Siegfried "was exposed to asbestos, asbestos-
                   19    containing products and/or products designed to be used in association with
                   20    asbestos products." Exh. A, § III. Plaintiffs further allege that Mr. Siegfried
                   21    developed mesothelioma as a result of his exposure to asbestos from defendants'
                   22    products. Exh. A, § IV.
                   23             4.       Plaintiffs allege that Mr. Siegfried was exposed to asbestos during his
                   24    tenure as an electrician at the Long Beach Naval Shipyard. Exh. A, § III. Plaintiffs
                   25    allege that Mr. Siegfried was exposed to asbestos at the Long Beach Naval
                   26    Shipyard in California, a U.S. federal government shipyard, which serviced U.S.
                   27    Naval ships. See id.
                   28
MORGAN, LEWIS &
  BOCKIUS LLP
 Arl,RNETS AT LAW

   Los   ANGELES                                                                DEFENDANT ELLIOTT COMPANY'S
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                     1            5.       Mr. Siegfried claims liability against Elliott and other defendants
                     2   based upon Negligence; Strict Liability; False Representation Under Restatement of
                     3   Torts Section 402-B; Intentional Tort/Intentional Failure to Warn. Id. at § V1-
                     4   XLIV. Plaintiffs generally allege that Mr. Siegfried's mesothelioma was caused by
                     5   defendants' negligence and Mr. Siegfried's exposure to asbestos from products
                     6   sold, shipped, supplied, distributed, installed, removed, or replaced by "Product
                     7   Defendants," and that these products were "defective and inherently dangerous
                     8   asbestos-containing products defectively designed to be used in association with
                     9   asbestos products." without specifying any particular act of any particular
                 10      Defendant that allegedly caused harm. See id. at § IV.
                    11                                                  II.
                    12                                     BASIS FOR REMOVAL
                 13      A.       Timeliness, Venue, and Notices
                 14               6.       This Notice of Removal is timely filed within thirty (30) days of
                 15      Elliott's January 30, 2018 notice of Plaintiffs' claim that Mr. Siegfried was
                 16      allegedly injured due to asbestos exposure that occurred at Long Beach Naval
                 17      Shipyard in California.
                 18               7.       Venue lies in the United States District Court for the Central District
                 19      of California pursuant to 28 U.S.C. § 1442(a) because the Complaint was filed in
                 20      Los Angeles, California and is currently pending in this District.
                 21               8.       Attached hereto as Exhibit B is a copy of all process, pleadings, and
                 22      orders served upon Elliott to date in this matter as required by 28 U.S.C. § 1446(a).
                 23               9.       Pursuant to 28 U.S.C. § 1446(d), Elliott will file written notice
                 24      regarding this Notice of Removal with the Superior Court for Los Angeles County,
                 25      California and will serve the same on counsel for Plaintiffs and those defense
                 26      counsel known to Elliott who have entered appearances in the state court action. A
                 27      copy of this Notice of Filing Notice of Removal is attached hereto as Exhibit C.
                 28
MORGAN, LEWIS &
  BOCKIUS LLP
 ATTORNEYS AS Law
   LOS ANGELES                                                                   DEFENDANT ELLIOTT COMPANY'S
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                    1            10.      The requisite filing fee has been tendered to the Clerk of the United
                    2   States District Court for the Central District of California.
                    3            11.      If any question arises regarding the propriety of removal, Elliott
                    4   respectfully requests the opportunity to present a brief and/or oral argument in
                    5   support of the removability of this case.
                    6            12.      Assignment of this action to the Los Angeles Division is proper as the
                    7   Complaint was filed in Los Angeles County.
                    8   B.       The Federal Officer Removal Statute Authorizes Removal of This Action
                    9            13.      Plaintiffs claim that Mr. Siegfried was allegedly exposed to asbestos
                   10   while he worked at the Long Beach Naval Shipyard, and in which he purportedly
                   11   encountered or was exposed to equipment that contained asbestos. This Court has
                   12   subject matter jurisdiction pursuant to 28 U.S.C. § 1442 because, in the
                   13   manufacture of products for the federal government, Elliott acted under the
                   14   direction of an officer of the United States within the meaning of
                   15   28 U.S.C. § 1442(a)(1).
                   16            14.      The Complaint alleges that Mr. Siegfried worked with or around
                 17     products manufactured by Elliott, as well as other defendants. Exh. A. at § IV.
                 18     There is no allegation in the Complaint that Mr. Siegfried ever encountered Elliott
                 19     products outside his work at the Long Beach Naval Shipyard.
                 20              15.      Though Plaintiffs do not expressly allege that Mr. Siegfried was
                 21     exposed to any particular product manufactured by Elliott while Mr. Siegfried
                 22     worked at the Long Beach Naval Shipyard, to the extent Mr. Siegfried may have
                 23     been exposed to asbestos associated with any Elliott products while at the Long
                 24     Beach Naval Shipyard, any and all such equipment manufactured and supplied by
                 25     Elliott for the federal government was designed and manufactured in accordance
                 26     with detailed specifications required by the federal government, and was designed
                 27     and built under the direction and control of the federal government and its officers.
                 28
MORGAN, LEWIS &
  BOCKIUS LLP
 AMARNETS AT LAW
   LOS ANGELES                                                                 DEFENDANT ELLIOTT COMPANY'S
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                     1              16.       If Elliott products were in fact used at the Long Beach Naval Shipyard,
                     2   those products were manufactured for use by the federal government pursuant to
                     3   contracts and specifications executed by the federal government. Accordingly,
                     4   Elliott acted pursuant to direction of a federal officer during the performance of
                     5   agreements to manufacture and sell equipment to the federal government for the
                     6   Long Beach Naval Shipyard, including all aspects of warnings associated with any
                     7   such equipment.
                     8              17.       This case therefore is removable based on the Federal Officer Removal
                     9   Statute, 28 U.S.C. § 1442(a)(1). The Federal Officer Removal Statute,
                    10   28 U.S.C. § 1442, guarantees an absolute right to a federal forum in any civil or
                    11   criminal action filed in state court "that is against or directed to" a federal officer or
                    12   "any person acting under that officer," such as a government contractor, when the
                    13   suit is "for or relating to any act under color of such [federal] office." 28 U.S.C.
                    14   § 1442(a). All requirements for Federal Officer Removal Jurisdiction are met here.
                    15              18.       Elliott, as a corporation, is a "person" within the meaning of 28 U.S.C.
                 16      § 1442(a). See, e.g., Leite v. Crane Co., 749 F.3d 1117, 1122 n.4 (9th Cir. 2014);
                 17      Isaacson v. Dow Chem. Co., 517 F.3d 129, 135-36 (2d Cir. 2008).
                 18                 19.       Elliott is entitled to remove this action because Plaintiffs' alleged
                 19      claims are "for or relating to" Elliott's work at the U.S. federal government's Long
                 20      Beach Naval Shipyard. Plaintiffs seek to recover for injuries purportedly caused by
                 21      products Elliott manufactured at the federal government's direction and under its
                 22      control. See In re Commonwealth's Motion to Appoint Counsel, 790 F.3d 457,
                 23      471-72 (3d Cir. 2015) (construing The Removal Clarification Act of 2011, Pub. L.
                 24      11251, 125 Stat. 545 (2011) and holding that under the 2011 amendments to the
                 25      Federal Officer Removal Statute, defendants no longer need to establish a "causal
                 26      nexus" between challenged acts and federal authority to support Federal Officer
                 27      Removal Jurisdiction).
                 28
MORGAN, LEWIS &
  BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES                                                                       DEFENDANT ELLIOTT COMPANY'S
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                   1            20.      Elliott hereby gives notice of its assertion of the "government
                   2   contractor defense" to each of Plaintiffs' claims. Under Boyle v. United
                   3   Technologies Corp., 487 U.S. 500 (1988), a government contractor is immune from
                   4   state tort liability for product defects when (1) the United States approved
                   5   reasonably precise specifications for the product at issue; (2) the equipment
                   6   conformed to the Government's specifications; and (3) the supplier warned the
                   7   United States about the dangers in the use of the equipment that were known to the
                   8   supplier but not to the United States. Id. at 512; see also Getz v. Boeing Co., 654
                   9   F.3d 852, 861 (9th Cir. 2011) (same).
               10               21.      Elliott's assertion of the "government contractor" defense here is
               11      "colorable." To the extent Elliott equipment was present at the Long Beach Naval
               12      Shipyard or aboard U.S. Naval ships, Elliott supplied the federal government with
               13      various components and machinery used at the Long Beach Naval Shipyard and
               14      any Naval ships. Those components were at all times designed and manufactured
               15      under contract with the federal government and pursuant to detailed specifications
               16      issued by the government.
               17               22.      The federal government also issued reasonably precise specifications
               18      for product manuals and associated warnings used at the Long Beach Naval
               19      Shipyard. As to Elliott's products, the federal government oversaw, exercised
               20      discretion over, and ultimately approved the content of all instructional manuals,
               21      packaging, and product warnings for Elliott's products intended for use at the Long
               22      Beach Naval Shipyard or aboard any U.S. Naval ships, to the extent said equipment
               23      was present. Elliott's product manuals and any associated product warnings
               24      conformed to the federal government's specifications.
               25               23.      The federal government was aware of the potential hazards of asbestos
               26      by the early 1920s, and the information about asbestos possessed by the federal
               27      government far exceeded any information that possibly could have been available
               28      to Elliott.
MORGAN, LEWIS &
  BocKius LLP
          Ar LAW
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   LOS ANGELES                                                                DEFENDANT ELLIOTT COMPANY'S
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                     1             24.      Insofar as it is necessary under the Federal Officer Removal Statute
                     2   following the amendments to 28 U.S.C. § 1442(a)(1) in 2011, a "causal nexus"
                     3   exists between Plaintiffs' claims and Elliott's alleged actions undertaken at a
                     4   federal officer's direction because Elliott's products were manufactured pursuant to
                     5   detailed federal government specifications, and any applicable warnings and
                     6   product manuals Elliott may have provided for products intended for use at the
                     7   Long Beach Naval Shipyard were subject to the federal government's ultimate
                     8   authority, control, discretion, and approval. See Leite, 749 F.3d at 1120.
                     9             WHEREFORE, Defendant Elliott Company, pursuant to and in conformance
                    10   with the requirements of 28 U.S.C. §§ 1442 and 1446, removes this action from the
                    11   Superior Court of the State of California, County of Los Angeles.
                 12
                 13      Dated: February 26, 2018                         MORGAN, LEWIS & BOCKIUS LLP
                 14
                                                                          By /s/ Joseph Duffy
                 15                                                          Joseph Duffy
                 16                                                           Attorneys for Defendant
                                                                              ELLIOTT COMPANY
                 17
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MORGAN, LEWIS &
  BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES                                                                   DEFENDANT ELLIOTT COMPANY'S
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                         Exhibit C
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                    PATRICK J. FOLEY, SI3# 180391                                                ['EH   6 1018
                  2   E-Mail: Patrick.Foley@lewisbrisbois,corn                       Shorn II.
                    TRENTON E. HARTZLER, S13# 318319                                                           Qiiice/Cierk
                  3   E-Mail: Trenton.HartzleKilewisbrisbois.com                                                   Deputy
                    633 West 5' Street, Suite 4000
                  4 Los Angeles, California 90071
                    Telephone: 213.250.1800
                    Facsimile: 213.250.7900

                  6 Attorneys for Defendant, SUPERIOR-
                    LIDGERWOOD ML ND
                  7

                  8                         SUPERIOR COURT OF THE STATE OF CALIFORNIA

                  9                          COUNTY OF LOS ANGELES, CENTRAL DISTRICT

                 10

                11 TERRY LEE SIECiFRI ED and TERRI                       CASE NO. BC691900
                   SIEGFRIED,                                            (Hon. Steven ). Kleificld, Dept. 324)
                12
                              Plainti Ifs,                               NOTICE OF MOTION AND MOTION TO
                13                                                       QUASH SERVICE OF SUMMONS;
                                vs.                                      MEMORANDUM OF POINTS AND
                 14                                                      AUTHORITIES; DECLARATION OF
                       3M COMPANY (f/k/a MINNESOTA                       TRENTON HARTZLER
                15 MINING & MANUFACTURING
                       COMPANY); AIR & LIQUID SYSTEMS
                16 CORPORATION (sued individually and as                 Hearing Date:     March 29, 2018
                       Successor-in-interest to BUFFALO PUMPS.           Time:             1:45 p.m.
                17 INC.); ABB, INC. (individually and as                 Department:       324
                      successor-in-interest to ITE IMPERIAL CO.
                18 f/k/a ITE CIRCUIT BREAKER COMPANY);
                      ALFA LAVAL INC. (sued individual and as            Action Filed:     January 26, 2018
                19 successor-in-interest to THE DELAVAL                  Trial Date:       None Set
                      SEPARATOR COMPANY and SHARPLES
                .20 1 CORPORATION); ATWOOD. & MORRILL
                      CO., INC, d/b/a WEIR VALVES &
                21 ' CONTROLS USA INC.; AURORA PUMP
                      COMPANY; A.O. SMITH CORP.; BACOU-
                22 DALLOZ USA„ INC., (sued as successor-in-
                      interest and/or f/k/a W.G.M. SAFETY
                23 PRODUCTS d/b!a WILLSON SAFETY
                      PRODUCTS);
                            •         CARRIER CORPORA [ION;
                24 CARVER PUMP COMPANY; CBS
                      CORPORATION (a Delaware Corporation)
                25 I f/Ida VIACOM, INC. (as successor-by-merger
                      to CBS CORPORATION) (a Pennsylvania
                26 Corporation) f/k/a WESTINGHOUSE
                      ELECTRIC CORPORATION).- and also as
                27 successor-in-interest to BE STURTEVANT;
                      CAL-V-AL CO.; CLEAVER -BROOKS.        INC.
LEWIS           28 (sued individually and as successor-in-interest   I
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                  1 to DAVIS ENGINEERING COMPANY
                       formerly known as AQUA-CHEM, INC.
                  2 . doing business as CLEAVER-BROOKS
                      DIVISION); COOPER WIRING DEVICES, a
                  3 division of COOPER INDUSTRIES
                      (individually and as successor-in-interest to
                  4 ARROW-HART & HECrEMAN, INC.);
                      COPES-VULCAN, INC.; CRANE CO. (sued
                 .5 individually and successor-in-interest.to
                      COCHRANE CORPORATION; CHAPMAN
                  6 VALVE COMPANY and JENKINS
                      VALVES); CRANE ENVIRONMENTAL,
                  7 INC. (sued individually. and Suecessor-in-
                      interestIO COCHRANE CORPORATION);
                 8 EATON CORPORATION (sued individually
                      and as successor-in-interest to CUTLER-
                 9 .11,6LMMER INC.); EATON ELECTRICAL,
                      INC. (sued individually and as successor-in-
                10 interest to CUTLER-HAMMER INC.);
                      ELI.10" r TURBOMACHINERY COMPANY
                11 a/k/a ELLIOTT COMPANY; EMERSON
                      ELECTRICT CO. (individually and as,
                12 successor-in-interest to KEYSTONE
                      VALVES AND CONTROLS, INC.); FISHER
                13 CONTROLS INTERNATIONAL -LLC fikla
                      FISIIER GOVERNOR COMPANY:1-1/1C
                14 CORPORATION. (sued individually and as
                      successor-in-interest to NORTIIERN PUMP
                15 COMPANY and PEERLESS PUMP
                      COMPANY); FOSTER WHEELER
                16, ENERGY CORPORATION; FRASHER
                     BOILER SERVICE. INCE; GARDNER-
                17 DENVER, INC.; GENERAL DYNAMICS
                     CORPORATION (stiecessor-in-interest to
                18 BATH IRON WORKS LTD. Mc/a THE
                     HYDE WINDLASS COMPANY);
                19 GENERAL ELECTRIC, COMPANY
                     (individually and as successor-in-interest to
                20 MASONEILAN, and MANNING,
                     MAXWELL &MOORE, INC.); GIBES &
                21 COX,.INC.; THE GORMAN-RUPP
                     COMPANY (individually and as successor-in-
                22 interest to PATTERSON PUMP COMPANY,
                     and C.H. WHEELER); GOIJLDS
                23 ELECTRONICS (as successor-in-interest to
                     ITE CIRCUIT HREAKER CO.); GOULDS
                24 PUMPS, INC.; HARDIE-TYNES -CO.,. INC.
                     (sued individually and as successor-in-interest
                25 to HARDIE-TYNES MANUFACTURING
                     CO. and HARDIE-TYNES
                26 MANUFACTURING COMPANY);
                     HARDIE-TYNES FOUNDARY &
                27 MACHINE CO. (sued individually and as
                     successor-in-interest to IIARDI E-TYNES
                28 MANUFACTUR [NG CO. and HARDIE-
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                       1 TYNES MANUFACTURING COMPANY);
                           HARDIE-TYNES, LLC (sued individually
                       2 and as successor-in-interest tO HARDIE-
                          TYNF.S. MANUFACTURING CO. and
                       3 I IARDIE-TYNES MANUFACTURING
                          COMPANY); HERCULES
                       4 MANUFACTURING COMPANY, INC.;
                          IIOWDEN NORTH AMERICA, INC. Flola
                       5 I IOWDEN BUFFALO, INC: (individually and
                          as successor-in-interest to BUFFALO FORGE
                       6 COMPANY); IMO INDUSTRIES (sued
                          individually and as successor-in-interest to
                       7 DELAVAL TURBINE, INC.); INGERSOL-
                          RAND COMPANY (individually and as
                       8 successor-in-interest to TERRY STEAM
                          TURBINE);. ITT INDUSTRIES, INC, (sued
                       9 individually and as successor-in-interest to
                          BELL & GOSSETT, FOSTER
                     10 ENGTNEERENG and HOFFMAN
                          SPECIALTY); KERR MACHINERY CO.
                     11 ilk/a KERR PUMP & SUPPLY INC.;
                          LAWLER MANUFACTURING COMPANY,
                     12 INC. filcia LAWLER AUTOMATIC
                          CONTROLS, ENC.; THE MARLEY-
                     13 WYLAIN COMPANY; MUELLER STEAM
                          SPECIALITY COMPANY rilkia WATTS
                     14 WMER TECHNOLOGIES, INC ; TIIE
                          NASH ENGINEERING COMPANY;
                     15 OWENS-ILLINOIS, INC.; PPG
                          INDUSTRIES, INC. (successor-in-interest to
                     16 AKZO NOBEL [NC., and DEVOE
                         COATINGS); QUIMBY EQUIPMENT
                     17 COMPANY; ROBERTSHAW CONTROLS
                          COMPANY (individually and as successor-in-
                     18 interest to FULTON SYLPHON COMPANY);
                         ROCKWELL AUTOMATION INC.
                     19 (individually and as successor by merger to
                         ALLEN-BRADLEY COMPANY LLC and
                     20 ROSTONE CORPORATION); ROSS
                         OPERATING VALVE COMPANY dibia
                     21 ROSS CONTROLS; RSCC WIRE & CABLE,
                         LLC; SCHNEIDER-ELECTRIC, USA, INC.;
                     22 ta/a SQUARE D COMPANY; SIEMANS
                         CORPORATION (individually and as
                     23 successor-in-interest to ITE CIRCUIT
                         BREAKER CO.); SEIMENS ENERGY INC.
                     24 (individually and as successor by merger to
                         DRESSER-RAND GROUP, NC.); SPIRAX
                     25 SARCO, INC.; SPX CORPORATION (sued
                         individually and as successor-in-interest to
                     26 THE MARLEY COMPANY, WYE A TN,
                         INC.. WELL-MeCLAIN, a division of
                     27 WYLAIN, INC., and WEIL-McCLAIN);
                         STERLING FLUID SYS1 EMS, (USA) 'LLC
                     28 Vkla PEERI         PUMP COMPANY;
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                        SULZER PUMPS HOUSTON, INC. (sued
                        individually and as successor-in-interest to
                   2    PACO PUMPS f/k/a PACIFIC PUMPING
                       COMI'ANY); SUPPRiOR-LIDGERWOOD-
                   3   MUNDY (individually and as successor-in-
                       interest to M,T, Davidson Co.); WELAN
                   4   VALVE COR.P.;. VIAD CORP f/k/a THE
                       DIAL CORPORATION (sued individually
                       and as successor-in -interest to GRISCOM-
                       RUSSELL COMPANY); VIKING PUMP,
                   6   IN C., a Unit or IDEX Corporation; WARREN
                       PUMPS; LLC (individually and as successor-
                   7   in-interest to QUIMBY PUMP COMPANY);
                       WEIL-McCIAIN; WEIL-McGLAN, a
                   8   division of'1'HN MARLEY COMPANY (sued
                       individually and as successor-in-interest to
                   9   WYTATN CO.); WILO USA 1._,I,C
                       (individually and as successor-in-interest to
                  10   WEIL PUMP COMPANY, INC.); WEIR
                       VALVES & CONTROLS USA INC,,f7k/a
                  11   ATWOOD & MORRILL; THE WILLIAM
                       POWELL COMPANY; and DOES 1-450,
                  12   inclusive,

                  13                     Defendants.

                  14

                  15             TO ALL PARTIES AND TO THEIR RESPECTIVE ATTORNEYS OF RECORD::
                  16             PLEASE. TAKE NOTICE that on March 29, 2018, at 1:45 p.m. or as soon thereafter as

                  17 counsel may be heard in Department 324 of the above-entitled Court, located at 600 S.

                       Commonwealth Avenue, Los.Angeles, California, Specially Appearing Defendant Superior-
                  19 Lidgerwood-Mundy Corporation ("SLM") will move this Court for an Order Quashing Service of

                  20 Summons and dismissing SLM from this action.
                  21            This Motion is made on the ground that this Court lacks persOnal jurisdiction over SLM
                  22 because SLM is not a California resident and no constitutionally-sufficient basis for personal

                  23 jurisdiction exists between SLM and the State of California. This Motion is made on the further

                  24 ground that this Court has the power to grant the relief requested pursuant to Code of Civil

                  25 Procedure Sections 41110, 416.10, 418.10, and 581 and case law construing those statutes.

                  26            This Motion will be based on this Notice and accompanying Memorandum of Points and

                  27 Authorities and Declaration of Trenton Hutzler, on all documents in the Court's file in this

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                1 action, and on such other documentary and oral evidence as may be presented at the time of the

                2 hearing.

                3 DATED: February 28, 2018                  TRENTON E. I-IARTZLER
                                                            LEWIS 13RISBOIS )3ISCIAARD & SMITH LIP
                4

                5
                6                                           _ „   Venton E. Harizler
                7                                                 Attorneys for Defendant, SUPERIOR-
                                                                  LIDGERWOOD MUNDY
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                        1                               MEMORANDUM OF POINTS AND AUTHORITIES
                        2 1.           INTRODUCTION

                        3              This action arises out of Plaintiffs' decedent's alleged injuries caused by alleged asbestos

                        4 expoSure. Plaintiffs allege that decedent was exposed to various asbestos-containing products at

                             unspecified jobs during-the period from approximately 1969 to 1996.

                        6              On January 26, 2018, Plaintiffs fi led their Complaint for Wrongful Death and Survival

                        7 Action — Asbestos in this action, alleging causes of action. for negligence and strict liability against

                        8 numerous defendants; including SUM. OnJanuary30, 2018, Plaintiffs served SLM with the

                        9 Sammons and Complaint in this action by personal service at SLM's offices in Superior,

                       10 Wisconsin.

                       11             SLM contends that this Court lacks personal jurisdiction over SLM because SLIvr, is a

                       12 foreign corporation that dues not have the constitutionally-required minimum contacts with the
                       13 . State OCCalifornia necessary for this court to-exercise personal jurisdiction. Consequently, SLM

                       14 specially appears and respectfully requests that this Court quash. service of the Summons on SLM.

                       15 2.          AUTHORITY FOR MOTION TO QUASH SERVICE OF SUMMONS

                       16             Code; of Civil Procedure Section 418.10(a) provides, in relevant-part:

                      17                      [O]n or before the last day of his or.her time to plead or within any
                                              further time that the court may ibr good cause allow, [a defendant]
                       18                     may serve and file a notice of motion
                      19
                                              (1) To quash service of summons on the ground of lack of
                      20                      jurisdiction of the court over him or her.

                      21
                                      On information and belief, SLM received the Summons and Complaint. for Wrongful
                      22
                            Death and Survival Action — Asbestos in this action via personal service on January 30, 2018.
                      23
                            Accordingly,. this Motion is timely.
                      24
                            3.        THIS COURT LACKS PERSONAL JURISDICTION OVER SLM, A WISCONSIN
                      25              CORPORATION

                      26              California's long arm statute provides the boundaries of personal jurisdiction in this State.

                      27 Code Civ. Pro. § 410.10 provides that personal jurisdiCtion can be founded "on any basis not

                      28 inconsistent with the Constitution of this state or theUnited States." (Id.) Accordingly, the
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                            exercise of perSonal jurisdiction by California courts must conform itself with the limits of due

                       2    process under the state and -federal constitutions, as they have been defined by the United States

                       3 Supreme Court.

                       4              The constitutional limitations provide that a California court may only exercise personal

                       5 jurisdiction over SLM, a non-resident defendant, in such a manner that will not deprive SLM of

                       6    Liberty or property without due process of law. (Code Civ. Pro. § 410.10; U.S. Const., Amend,

                       7 XIV; Cal. Const., Art. I, § 7.) Due process requires that, in order to subject a defendant who is not

                       8 present within the territory of the forum to a judgment ire persomm, the defendant must have

                       9 "certain minimum contacts [with the forum state] such that the maintenance of the suit does not

                      10   offend 'traditional notions of fair play and substantial justice'." (International Shoe Co, v.

                      11    Washington (1945) 326 U.S. 310, 316 [quoting Milliken v. Meyer (1940) 311 U.S. 457, 463];

                      12 Shearer v, Superior Court (1977) 70 Cal.App,3d 424.) The concept ofminimum contacts between

                      13 ; the nonresident defendant and the State of California embodies therationale of "fair play and

                      14 substantial justice." (Titus v. Superior Cotirl (1972) 23 Cal.App.3d 792, 800.) The minimum

                      15 contacts requirement is applicable to nonresident individuals, as well as non-resident corporations

                      16 such as SLM. (.4ritesen v. Raymond Lee Orgetrit2atirm, Inc. ( 1973) 31 'Ca1.App.3d 991, 995- 996.)

                      17             To impose petsonali liability or obligation in favor of a plaintiff, therefore, a state court

                      18 must have personal jurisdiction over a defendant. (Burnham V, Superior Court (l990) 495 U.S.

                      19 604, 609; Kulko v, California Superior Court (1978) 436 U.S. 84, 91.) Personal jurisdiction is

                      20 based on the presence of reasonable notice to the defendant that an action has been brought, and a

                      21 sufficient connection between the defendant and the forum state. (Ku/k.o, 436 U.S. at 91.)

                      22 California jurisprudence recognizes two types of personal jurisdiction over nonresident

                      23 defendants; (1) "general" jurisdiction; and (2) "special" or "limited" jurisdiction.

                      24             IT a defendant's contacts with the forum state are extensive, wide-ranging, continuous or

                     25 systematic, general personal jurisdiction may be warranted for all causes of action asserted against

                      26 the defendant in that state, regardless of how they arise. (Cornelison V. Chaney (1976) 16 Ca1.3d

                     27 143, 147; Voris Cos., Inc. v, S'eabest Foods, Inc. (1996) 14 Ca1,4th 434, 445-446.) however.

                     28 where the nonresident's contacts with California are less significant, the defendant may he subject
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              1 to "specific" or "limited" personal jurisdiction but only if the specific litigation at issue arises out

              2 ; of the defendant's activities within the forum state. (Id.)

              3              SLM contends that Plaintiffs cannot meet their burden of proof to establish either form of

              4    personal jurisdiction. As will be demonstrated, this Court cannot exercise either general or

              5 specific personal jurisdiction over SLM, a Wisconsin corporation.

              6              A.      This Court Lacks General PerSonai Jurisdiction Over SLM

              7              The Court's exercise of general personal jurisdiction requires Plaintiffs to show that

              8 SLM's activities are sufficiently wide-ranging, systematic and continuous within the State of

              9 California. (International Shoe Co., 326 U.S. at 316; Cornelison, 16 Ca1.3d at 147, 149 [no

             10 personal jurisdiction over defendant who made 20 trips a year into the state to deliver and obtain

             11 goods].) The existence of general personal jurisdiction over SLM depends on the nature and

             12 quality of SLM's activities -in this state. SLM contends that this Court does not have general

             13 personal jurisdiction over•it because it cannot be'shOwn that SLM has "contacts with the forum

             14 that are so wide-ranging that they take the place of physical presence in the forum as a basis fbi'

             15 jurisdiction." (Vans C08., lne,, 14 Ca1.4th at 446.)

             16             SLM is a Wisconsin corporation that manufactures pumps for marine vessels and other

             17 equipment. (lb-Vier Decl., Exhibit A, ¶¶ 2, 3, 4.) SLM does not regularly sell any products in

             18 California or perform any services in California. (I Tartzler DeeL, Exhibit A, 111-5, 6, 7, 8, 9.)

             19 SLM's headquarters and principal place of business are located in Superior, Wisconsin. (1-lartzler

             20 Dccl., Exhibit A,1111, 2,3.) SLM does not maintain any bank accounts, offices, headquarters,

                  employees or assets, or own any properly in the State or California. (Hartzler Decl., Exhibit A,

            22 2,3, 8, 9.) In sum, there are no wide-ranging business relationships, contacts, or activities between

            23 SLM and California: (llartzier Decl., Exhibit A, Eli 2, 3, 5, 6, 7, 8, 9.)

            24              SLM sold a small humberef pumps to a United States Navy subcontraetor in California

            25 during the years 1978, 1981-1984 and 1986 and one winch to Los Angeles County in 2011 .

            26 (HartzIcr Dec]., Exhibit A, 'I 10.) The law is settled that when a non-resident ceases to do business

            27 in the forum it is no longer subject to general jurisdiction on causes of action independent of that

            28 business. (Sergfini v. Sup. Ct. (Khadir) (1998) 68 CaLApp.4th 70, 79, 80 Cal. Rptr. 2d 159, 165.)
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                 1               The case of Felix v.- Bomoro (1987) 196 Ca].App.3d 106 is directly on     point.   In that case,

                 2 the trial court quashed the service of summons upon aCierman corporation that allegedly
                 3 manufactured a defective latch in a Volkswagen vehicle. PlaintiffS had sued the foreign

                 4 corporation for products liability due to injuries sustained in the Volkswagen in an automobile

                 5 accident in California. The appellate court affirmed the trial court's findirg that the State of
                 6 California could not exercise jurisdiction -over the German manufacturer. The Court held: "[T]he

                 7 strictures of the due process clause forbid a court from exercising personal jurisdiction over a

                 8 foreign corporation that merely places its products into the stream of commerce even though it

                 9 may foresee that those products will ultimately wind their way into the forum state." (Id. at 114-

                10 115.)

                11              Even if it   was   foreseeable that a product could come into the forum State, where the non-

                12 resident corporation does not regularly sell.its..products in the forum, and has no contacts with the

                13       Forum, it is not subject to local jurisdiction in product liability actions. (Worldwide?. Volkswagen v,

                14       Woodson (1980) 444 U.S. 286, 297.) Moreover, the purChaser's unilateral decision to bring goods

                15 into the forum state does not constitute "purposeful availment" by the.out of state retailer or
                16 distributor, (Id.)

                17              SLM pumps and winches were never available on a retail basis in the State of California.

                18 (1-lartzler Decl., Exhibit A,14, 5, 6, 7.) SLM had no way of knowing, or of controlling, whether
                19 the United States Navy or its subcontractors brought pumps into the State of California, so its

                20 single direct contact with California was the sale of one winch to Los Angeles County tluee years

                21 ago. ThiS Court, like the Felix Court, "can only conclude that it would be manifestly unjust to

                22 require [SLM] to defend itself against [plaintiff's) suit in -this state." (Felix v. Bonwro (1987) 96
                23 Cal.App,3d 106, 116.)

                24              Clearly, there is no basis to "reasonably and in fairness" conclude that SEV1.has "extensive

                     l
                25 and wide-ranging" or "substantial, systematic and continuous" contacts with the State of

                26 California justifying general personal jurisdiction. Therefore, this Court cannot exercise general

                27 personal jurisdiction over SLIvl.

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                     1               B.      This Court Lacks Specific Personal Jurisdiction Over SLM

                     2               Since, as discussed above, SLM does not meet the criteria for general personal jurisdiction,

                     3 Plaintiffs must prove that "limited" or "specific" personal jurisdiction over SLM exists. Plaintiffs

                     4 cannot meet their burden.

                     5              The California Supreme Court instructs:

                     6                       If ... -the defendant's activities in the forum arc not so pervasive as to
                                             justify the exercise of Renera1 jurisdiction over him, then jurisdiction
                     7                       depends upon the quality and nature of his activity in the forum.in
                                             relation to the particular cause of action. In such a situation, the
                     S
                                             cause of action must arise out of an act done or transaction
                     9                       consummated in the forinn, or defendant must perform some other
                                             act by which he purposefully avails himself of the privilege of
                    10                       conducting activities in the forum, thereby.invoking the benefits and
                                             protections of its laws. (Cornelison, 16 Ca1.3d at 147-148.)
                    11

                    12              Plaintiffs must prove: (1)-that SLM parpoyefully.directed its activities at residents of

                    13 California, (2) that SLM's contacts with California are sufficient to subject SLM to a lawsuit in

                    14 California on a cause of action related to or arising out of those activities in California, and (3)

                    15 that the exercise of jurisdiction by California comports with fair play and substantial justice.

                    16 (Burger King Corp. v. Rudzewicz (1985) 471 U.S, 462, 472, 476; Sibley v. Superior Court (1976)

                    17 16 (191:3d 442, 446-447) In other words, specific personal jurisdiction must be based on activities

                    18 in- California allegedly giving rise to the cause al actionin this case. (Boaz v. Boyle & Co., Inc.

                    19 (1995) 40 CaLApp.4th 700, -717)

                    20              In other words, the causes of action must have.some "nexus" with the non-resident's

                    21 California-related activities. (Cornelison, supra, 16 Cal. App: 3d at 149-150.) The California

                    22 Supreme Court has determined that specific jurisdiction cannot be established where the cause of

                    23 action does not have a "substantial connection to the non-resident's forum Contacts.' (1/ohs Cos.,

                   24 Inc. v. Seabest Foods, Inc. (1996) 14 Cal, App. 4th 434, 452, 58 Cal. Rptr. 2d 899, 910 [emphasis

                   25 added].)

                   26              In this action, PlaintitTs allege that decedent was exposed to asbestos at Long Beach Naval

                   27 Shipyard from pumps manufactured by SLM. Plaintiffs allegations pertain to exposure at Long

                   28 Beach Naval Shipyard and do not arise out of or relate to SLM actions in California.
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                     1 4.            PLAINTIFF HAS THE BURDEN OF PROVING THAT THE COURT HAS
                                     PERSONAL JURISDICTION OVER SLM AND HE CANNOT MEET HIS
                     2               BURDEN

                     3               It is well settled that where the validity of service of process on a non-resident corporation

                     4 is challenged by a motion to quash, the burden is on the plaintiff to establish valid service. (Mihlon
                     5    v. Superior Court (1985) 169 Cai.App.3d 703, 710.) Mcreover, this burden extends to proving

                     6 "the fact of compliance with California's statutory provisions for acquiring jurisdiction."

                     7 , (General Motors Corp. v, Superior Court (1971) 15 Ca1.App.3d 81, 85-86 .) Furthermore,

                     8 procedural rules governing service of process are to be strictly construed. Again, the General

                     9    Motors court observed: "It is a settled rule that where the statute requires notice to be given a

                    10 party of any action of a court in any proceeding the notice so given must be precisely the one

                    11 prescribed by the statute." (Id. at 86 [emphasis added; citations omitted].) Ultimately, the burden

                    12    is on the plaintiff to demonstrate by a preponderance of the evidence that all jurisdiction criteria

                    13 are met, (tiller Electronics Lab GmbH v, Superior Court (1988) 206 Cal.App.3c1 1222, 1232.)

                    14              In this case. Plaintiffs cannot meet their burden of proof by .a preponderance o [`the

                    15 evidence. It is undisputed that SLM is a non-resident corporation that has no contacts with the

                    16 State of -California and its few contacts in the past do not amount to purposeful direction and/or are

                    I7 distinct from the Plaintiffs causes of action alleged in this case. Simply put, Plaintiff can show no

                    18 significant relationship between SLM and the State of California or this action.

                    19 5.           CONCLUSION_

                    20              For the foregoing reasons, Specially Appearing Defendant Superior-Lidgerwood-Mundy

                    21 Corporation requests that its Motion to Quash Service of Summons be granted, that it be dismissed

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                Case 2:18-cv-01575-FMO-E Document 125-1 Filed 03/07/18 Page 82 of 96 Page ID
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                  1 from this action pursuant to Code or     civil Procedure Section 581(h), and that it he granted any
                  2    further relief that this Court deems just and necessary.

                  3
                      DATED February 28, 2018                     TRENTON E. HARTZT.,ER
                  4                                               LEWIS F3RTSBOIS BISCAARD & SMITH LLP
                  S

                  6
                                                                  By:
                  7                                                     Trenton E, Hartzler
                                                                        Attorneys For Defendant; SUPERIOR-
                  8                                                     LIDGERWOOD MUNDY
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                  Case 2:18-cv-01575-FMO-E Document 125-1 Filed 03/07/18 Page 83 of 96 Page ID
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                    I                                DECLARATION OF TRENTON }IARTZLER
                    2              I, TRENTON IIARTZE.,ER, declare as follows:

                    3              1.      I am an attorney duly licensed to practice in all of the courts in the State of
                    4 California and am an associate with Lewis Brsbois Bisgaard & Smith LLP, attorneys of record for

                    5 Specially Appearing Defendant SuperiOr-Lidgerwood,Mundy Corporation ("SLM") herein. The

                    6 facts set forth herein are within my personal knowledg.e., and if sworn I could and would

                    7 competently testify thereto.

                    8             2.       Attached hereto as Exhibit A is a trae and correct copy of the Declaration of Arthur
                    9 Woodman filed in a prior case where SLM's Motion to Dismiss for Lack of Personal Jurisdiction

                   10 was granted, the case being Walashek et al. v. Air &Liquid Systems, et al., U.S, District Court,

                   11 Southern District of California Case No. 3:14-CV-01567-BTM-BGS.

                   12             3.       Arthur Woodman is unavailable until March 7, 2018. However, since the present

                   13 Motion to Quash.must be filed now, a supplemental declaration from Mr. Woodman will be made
                   14 when he becomes available. All pertinent information contained in the prior declaration applies to

                   15 the instant matter except for Paragraph 11.

                   16             4.       SLM has filed a Motion to Quash Service of Summons or a Motion -to Dismiss for

                   17 Lack of Personal JuriSdiction in priOr lawsuits filed against it in the State of California.

                   18 Subsequent to 'the filing of each motion to quash or motion to 4siiiiss, SLM was dismissed, either
                   19 voluntarily by thoplaintiff(s)' attorneys or by court order granting SLM's motion to quash or

                   20 motion to dismiss in each of the following cases: Alice McGlaCe, et al. v. Asbestos Defendants,

                   21 San Francisco Superior Court Case No. 313708 (SLM was substituted into the action in place of

                   22 Doe 9 by Amendment to Complaint filed March 2, 2005); Samuel Panzer v. Asbestos Defendants,
                   23 San FrancisCo Superior Court Case No. CGC404-43026 (SLM was substituted into the action in

                   24 place of Doe 21 and Served on April .25, 2005); Maxine Finkelstein, etc., et al. v-. Asbestos

                  25 Defendants, San Francisco Superior Court Case No. 4361'12 (SLM was served with the Second

                  26 Amended Complaint on July 30, 2005; Gerald Barlow and Annette BarlOw v. American Standard,

                  27 Inc., etc., et al., Los Angeles County Superior Court Case No. BC335153 (M.T. Davison Co. was

                  28 served with the Complaint in August, 2005); Stanley Sparks and Linda Sparks v. Asbestos
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& WITH UP                                  NOTICE OF MOTION AND MOTION TO QUASH SERVICE OF SUMMONS
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                1   Defendants, San Francisco Superior Court Case No. CGC-05-442672 (SLM was served with the

                2 Complaint on July 30, 2005); Marc Norvell, etc., et al, v, Asbestos Defendants, San Francisco

                3 Superibr Court Case No. 419044 (The Complaint was filed on July 28, 2005. SI.M was served in

                4 approximately September, 2005); Stephanie Berg, etc., et al. v. Asbestos Defendants, San

                5 Francisco Superior Court Case No. CGC-05-444220 (SLM was served in September, 2005);

                6 Albert Rice v. Asbestos Defendants, San Francisco Superior Court Case No. CGC-05-444852

                7 (The Complaint was filed on September 14, 2005 SIM was served in approximately October,

                    2005); Paul G. Jones and Marcia Jones v. American Standard, Inc., etc., et al., Los Angeles

                9 County Superior Court Case No. BC342802 (Complaint was filed on November 9, 2005. SLM

               10 was served in late approximately November — early December, 2005; Joni Karber, etc., et al. v.

                    Asbestos Defendants, San Francisco Superior Court Case No. CC1C-05-443980. (The Complaint

               12 was filed on August 11, 2005. SLM was served in approximately April, 2005); Harold Dunham

               13 and Marilyn Dunham v. Asbestos Defendants, San Francisco Superior Court Case No. CGC-06-

               14 449792 (Complaint was filed on February 24, 2005. SLM was served in approximately

                    September, 2006); Charles Tilton v. Asbestos Defendants, San Francisco Superior Court Case No.

               16 CGC-06-456617 (The Complaint was filed on October 2, 2006. SLM was served in

               17 approximately December, 2006); Lloyd T. Hughes v. Butterworth, Inc., et al., Los Angeles County.

               18 Superior Court Case No. BC365783. (The Complaint was tiled on February 2, 2007. SLM was

               19 served in approximately March, 2007); Jimmie J. Dudash and Carol S. Dudash v..A.W. 'Chesterton

               20 Company, et al., San Francisco Superior Court Case No. CGC-07-274081. (The Complaint was

               21 filed on February 27, 2007. SLM was served in approximately March, 2007); Thomas Taylor v,

               22 Asbestos Defendants, San Francisco Superior Court Case No. CGC-07-274220. (The Complaint

               23 was filed on June 4, 2007, ST.M was served in approximately July, 2007); Eloise Bromley, etc., et

               24 al. v. A.W. Chesterton Company, et a!„ Alameda County Superior Court Case No. RG 07 325342.

               25 (The Complaint was filed in October, 2007. SLM was served in approximately. December, 2007);

               26 Edward Lopez, etc., et al. v. ACandS Inc,, et al„ San Francisco Superior Court Case No, CGC-07-

               27 274327. (SLM was apparently served in December, 2008); Marvin M. Acuff, Jr. v. Alfa Laval

               28 lnc., etc., et al., Los Angeles County Superior Court Case No. BC400236. (Complaint was filed
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                          on October 17, 2008. SLM was Served in approximately:March, 2009); David Overby and

                     2 Margaret Overby v. Alfa Laval, he., etc., et al., Los Angeles County Superior Court Case No.

                     3 BC452072. (Complaint was filed on December 28, 2010. SLM was served in January, 2011);

                     4 Oliver Brown v. General -.Electric Company, ct A, U.S. District Court, Northern District of

                     S California Case No. CV 11 0273. (Complaint was filed on January 19, 2011: SLM was served in

                     6 March, 201 1); Walas.17ek et al. v. Air & Liquid Systems, et al,, U.S. District Court, Southern

                     7 District.of California Case No. 3:14-CV-01567-BTM-BGS. (Complaint was filed on March 24,

                     8 2014, SUM was served in June, 2014).

                     9             5.       Attached hereto as Exhibit B is a truc and correct copy of the Order Granting
                    10 Motion to Dismiss in the case of Walashek et al. v. Air & Liquid Systems, et al., U.S. District

                    11 Court, Southern District of California Case No. 3:14-CV-01567-BTM-13GS.
                    12             I declare under penalty of perjury under the laws of the State of California that the

                    13 foregoing is true and correct.
                    14             Executed on February 28, 2018 at Los Angeles, California.
                    15

                    16
                                                                             Trenton E. I-Tartzler
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                   EXHIBIT "A"
                  Case 2:18-cv-01575-FMO-E Document 125-1 Filed 03/07/18 Page 87 of 96 Page ID
                                                    #:7769




                                                                           DECLARATION OF ARTIIUR WOODMAN
                         2
                                                           r, ARTHUR WOODMAN, declare as follows:
                         3
                                                       1..       I am the Vice President and Chief Financial Officer of Supelior-Lidgerwcod-
                         4
                                       Mund'y Corporation ("SLIvi"). I. awfully competent and anthorindte rriake this declaration on
                         5
                                        behalf of SLM. and the facts stated herein aro within my personal knowledge, based upon my

                                       employment by SLM for over 40 years and my persdnal familiarity with SLM and-its business
                        7
                                       zetivi-deS.
                        8
                                                       2.       SLM is a corporation organized. under the laws of the State of Wisconsin. SLM's
                        9
                                       principal place or business is located at 302 Grand Avenue, Superior, Wisconsin._
                    it,
                                                      3.        SLM's manufacturing facilities are It >cated solely in Superior, Wisconsin,
                    11
                                                      4.        S1,1v1 manufactures pumps etel-usively for sale to the United States Navy and
                    12
                                       tin i ted States Navy subcontractors. It also manufactures winches.
                    1.3
                                                      5.        SI.M.has never soldits pumps in California on a retail basis and .SI,M has.never
                    J.4
                                       made its pwnps available on a comrnercial basis to entities other than those contracting with the
                    15
                                  United States Navy. SLY1has sold one winch in California.
                    16
                                                      6.        SLM has never manufactured: its products in the State of California.
                    11
                                                      7_        SL,Tvl is not licensed to do business in California and does not have an agent fur
                    18
                                service of -process in California.
                    19
                                                      8.       SLM does not own real estate in California, does not maintain offices,
                   20
                                        UTI     racturing plants, or retail outlets in California; and does not have employees, agents, post
                   21
                                office boxes, or bank accomits in Calit-ornia.
                   22
                                                      9.       SLM does not and is not required to pay taxes in California and is not required to
                   23
                                and does not file any typo of govem.meniaL report in California.
                   24
                                                      la       In 1978, 1980, 1931, 1932, 1983i 1984 and 1986, SLM sold :a small number of
                   25
                                pumps to a United States Navy contractor who owned a. shipyard located in California. A total of
                   26
                             213 pumps were shipped to California to that United States Navy contractor. Jr. 2011, SLM sold
                   27'
                             one winch to Los _A_ngeres County, California.
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13ISAARD                                NOTIC7 OF MOTION AND MOTION TO QUASH SERVICI3 OP SUMMONS; .MEMORANDUM OF POINT
8d1v111-11113                                          AND AUTIIORITII3S; DECLARATION OP ARTHUR WOODMAN
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Case 2:18-cv-01575-FMO-E Document 125-1 Filed 03/07/18 Page 88 of 96 Page ID
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                                  SIM was served with the Sunman end Complaint b this scam on or el,o,_t June

           2 [3, 2014, at its 4e4niquerters axle principal pace          busines5 in Superior, Wisecnsin.

           3$             I declare under peualty of pedal.). under the laws of the State of Ca:ilbraia that

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                                           “B”
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   7
   8                           UNITED STATES DISTRICT COURT
   9                        SOUTHERN DISTRICT OF CALIFORNIA
  10
  11     GAIL ELIZABETH WALASHEK,                       Case No. 14cv1567 BTM(BGS)
         individually and as successor in interest
  12     to the Estate of MICHAEL WALASHEK,             ORDER GRANTING MOTION TO
         et al.,                                        DISMISS
  13
                                          plaintiffs,
  14           v,

  15     AIR & LIQUID SYSTEMS
         CORPORATION (sued as succesor-by-
  16     merger to BUFFALO PUMPS, INC.), et
         al.,
  17
                                       Defendants.
  18
  -19
              Specially appearing Defendant Superior-Lidgerwood-Mundy Corporation
  20
        ("SLM") has filed a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(2). For
 21
        the reasons discussed below, Defendant's motion is GRANTED.
  22
 23
                                          L BACKGROUND
 24
              This case is a wrongful death action. Plaintiffs allege that the decedent,
 25
        Michael Walashek, developed malignant mesothelioma as a result of exposure
 26
        to asbestos from various products that were manufactured, supplied, sold, or
 27
        distributed by Defendants, including SLM. Plaintiffs allege that Mr. Walashek
 28
        was exposed to the asbestos during the course of his employment at various

                                                                            14cv1567 ETM(BGS)
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       jobs from approximately 1967 to 1986.
   2          On March 24, 2014, Plaintiffs filed a Complaint for Wrongful Death and
   3   Survival Action in the Superior Court of the State of California for the County
   4   of San Diego.
   5          On June 3, 2014, Plaintiffs served SLM with the Summons and
   6   Complaint. (Woodman Decl. ¶ 11-12.)
   7          On June 27, 2014, Defendant Carrier Corporation removed the State
   8 Court Action to this Court_ Because the removal was based on federal officer
   9   removal jurisdiction under 28 U.S.C. § 1442(a)(1), Carrier Corporation asserted
  10   that it did not need to obtain the consent of any other defendant for the
  11   removal. (Notice of Removal, ¶ 11.)
  12         According to SLM, the Notice of Removal was never served on SLM.
  13   (Woodman Decl. '¶ 13; Graniez Decl. ¶ 5.) The Certificate of Service attached
  14   to the Notice of Removal does not indicate service on SLM.
  15         On July 2, 2014, SLM electronically filed a Motion to Quash Service of
  16   Summons in state court. (RJN, Ex. C.) The basis of the motion was that SLM
  17   is not subject to personal jurisdiction in the State of California. The motion was
  18   accepted for filing by the state court. (RJN, Ex. D.)
  19         Counsel for SLM first learned about the removal of the case on August
  20 1, 2014. (Graniez Decl. If 6; Riscksecker Decl, III 2-30.)
  21         On August 20, 2014, SLM filed the instant motion.'
  22
  23                                    II. CdSCUSSION
  24         SLM brings this motion on the ground that the Court lacks personal
  25   jurisdiction over SLM. As discussed below, the Court agrees with SLM.
  26         Both the California long-arm statute and Fed. R. Civ. P. 4(k)(2) require
  27
  28           1 The Court finds that SLM's motion was filed in a timely manner given SLM's lack
       of notice regarding the removal of the action.

                                                   2                             14cv1567 BTIVS(BGS)
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       that the exercise of personal jurisdiction comply with federal due process
   2 requirements. Pebble Beach Co, v. Caddy, 453 F.3d 1151, 1155 (9th Cir.
   3   2006).    Generally, a court may exercise jurisdiction over a nonresident
   4   defendant where the defendant's minimum contacts with the forum state render
   5   the maintenance of the action inoffensive to traditional concepts of fair play and
   5   substantial justice. International Shoe Co. v. Washington, 326 U.S. 310, 320
   7   (1945).
   8         There are two types of personal jurisdiction — general and specific.
   9   Specific jurisdiction exists when a defendant's contacts with the forum have
  10   given rise to the suit. Helicopteros Nacionales de Colombia, S.A. v. Hall, 466
  11 U.S. 408, 414 n. 8 (1984). In contrast, general jurisdiction allows a defendant
  12   "to be haled into court in the forum state to answer for any of its activities
  13   anywhere in the world." Schwarzenegger v. Fred Martin Motor Co., 374 F.3d
  14   797, 801 (9th Cir. 2004). Recently, the Supreme Court clarified that the
  15   appropriate inquiry for purposes of general jurisdiction is "whether that
  16   corporation's affiliations with the State are so 'continuous and systematic' as
  17   to render [it] essentially at home in the forum state." Daimler AG v, Bauman,
  18      U.S.     , 134 S.Ct. 746, 761 (2014) (quoting Goodyear Dunlop Tires
  19 Operations, S.A. v. Brown, 564 U.S.            , 131 S.Ct. 2846, 2851 (2011)).
  20   General jurisdiction does not exist just because a corporation "engages in a
  21   substantial, continuous, and systematic course of business" in a state.
  22   Daimler, 134 S.Ct. at 761.
  23        Plaintiffs do not claim that the Court has specific jurisdiction over SLM.
  24   Instead, Plaintiffs contend that the Court has general jurisdiction over SLM
  25   based on SLM's safe of M.T. Davidson pumps containing asbestos gaskets and
  26   packing materials to Naval shipyards in California, The evidence shows that
  27   between 1978-1986, SLM shipped 213 pumps to a United States Navy
  28   contractor who owned a shipyard located in California. Plaintiffs have not

                                              3                            14cv1567 BIM/JIGS)
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   1   presented any evidence that SLM continued to do business with shipyards in
   2   California after 1986.
   3         SLM is a corporation organized under the laws of Wisconsin, with its
   4 principal place of business in Wisconsin. (Woodman Deci. J 2.) SLM's
   5 manufacturing facilities are located in Wisconsin. (Id. at 3.) Other than the
   6   sale of one winch to Los Angeles County three years ago, SLM denies contacts
   7   with California after 1986. (Reply at 3.) SLM is not licensed to do business in
   8   California, does not own real estate In California, does not maintain offices or
   9   employees in California, does not have bank accounts in California, and does
  10 not pay taxes in California. (Woodman Deck Ifff 7-9.)
  11         It appears that Plaintiffs rely solely on SLM's shipment of the 213 pumps
  12   to California from 1978-1986 as the basis for the exercise of general
  13 jurisdiction. However, the Court is not convinced that SLM's contacts with
  14   California more than 25 years ago render SLI'Vl's affiliations with California so
  15   "continuous and systematic" as to render SLM "essentially at home" in
  16 California. For purposes of general jurisdiction, courts should consider all of
  17   the defendant's contacts with the forum state over a period of years prior to the
  18   plaintiffs filing of the complaint. 4 C. Wright, A. Miller, E. Cooper, & R. Freer,
  19 Federal Practice and Procedure § 1067.5 (3d ed.) Most courts examine a
  20   defendant's contacts over a period of three to seven years prior to the filing of
  21   the complaint. Id. See also Metropolitan Life Ins. Co., v. Robertson-CECO
  22   Corp., 84 F.3d 560, 569-70 (2d Cir. 1996) (holding that district courts should
  23   examine a defendant's contacts with the forum state over a time period that is
  24   reasonable under the circumstances, and examining the defendant's contacts
  25   during the six-year period before the filing of the suit).
 26          Plaintiffs have not cited any authority for considering decades' old
 27    contacts for purposes of determining general jurisdiction. Even if the Court
 28    could look back that far, due to the lack of evidence that other than the sale of

                                               4                           14cv1557 BTM(EIGS)
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       one winch, SLM engaged in direct business with California after 1986, the
       Court cannot conclude that SLM has continuous and systematic contacts with
   3   California such that SLM is, at present, essentially at home in California.
   4   Plaintiffs have not carried their burden of establishing that this Court has
       personal jurisdiction over SLM.


   7                                 Ili. CONCLUSION
   8         For the reasons discussed above, SLIVI s motion to dismiss for lack of
   9   personal jurisdiction is GRANTED. Plaintiffs' Complaint is DISMISSED as to
  10 Defendant SLM. Pursuant to Fed. R. Civ. P. 54(b), the Court directs entry of
  11 final judgment dismissing Plaintiffs' claims against Defendant SLM because
  12   there is no just reason for delay.
  13
  14 IT IS SO ORDERED.
  15   DATED: December 29, 2014
  16
                                            BAR      ED MOSKO 1 , Chief Judge
  17                                        United States District ourt
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                      1                              CALIFORNIA STATE COURT PROOF OF SERVICE

                      2              Terry Lee Siegfried and Terri Siegfried v. 3M Company, et al. - Case No. BC691900

                      3 STATE OF CALIFORNIA. COUNTY OF LOS ANGELES

                      4           At the time of service, I was over 18 years of age-and not a party -to the action. My
                           business address is 633 West 5th Street, Suite 4000, Los Angeles, CA 90.071.
                      5
                                       On February 28, 2018, 1 served the following document(s):
                      6
                              I served the documents on the following persons at the following addresses (including fax
                      7 numbers and e-mail addresses, if applicable):

                      8               See service list on File di ServeXpress website

                      9               The documents were served by the following means:

                     10                 (BY ELECTRONIC SERVICE VIA ONE LEGAL FILE & SERVE) Based on a
                        court order I caused the above-entitled documents) to be sewed through One Legal File & Serve
                     11 at eweb2.onelegal.com addressed to all parties appearing on the electronic service list for the
                        above-entitled case, The service transmission was reported as complete and.a copy of the One
                     12 Legal file & Serve Filing Receipt Page/Confirmation will be tiled, deposited, or maintained. with
                        the original document(s) in this office.
                     13
                        ❑       (BY U.S. MAIL) I enclosed the documents in a scaled envelope or package addressed to
                     14         the persons at the addresses listed above and:

                     15               ❑         Placed the envelope or package for collection and mailing, following our ordinary
                          business practices. I am readily familiar with the drinks practice for collection and processing
                     16 correspondence for mailing. Under that practice, on the same day that correspondence is placed
                        for collection and mailing, it is deposited in the ordinary course of business with the U.S. Postal
                     17 Servicei in a sealed envelope or package with the postage fully prepaid.

                     18          I declare under penalty of perjury under the laws of the State of California that the
                          foregoing is true and correct.
                     19
                                      Executed on February 28 2018, a! Los Angeles, California.
                     20

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                                                                                                               1   Feb 28 2018
                                                                                                                    03:13PM ,

                   .1    LEWIS BRIS1301S BISGAARD & SMITH LLP
                         PATRICK J. FOLEY, SB# 180391
                  2        E-Mail: Patrick.Foley@lewisbrishois.com
                         TRENTON E. HARTZLER, SB# 318319
                   3       E-Mail: Trenton.Hartzler @levvisbrisbois.com
                         633 West 5 th Street., Suite 4000
                   4     Los Angeles, Califorriia'90071
                         Telephone: 213.250.1800
                   5     Facsimile: 213.250.7900

                  6 Attorneys for Defendant, SUPERIOR-
                      DGERWOOD M-UNDY
                  7

                  8                           SUPERIOR COURT OF THE STATE OF CALIFORNIA.
                  9                            COUNTY OF LOS ANGELES., CENTRAL DISTRICT

                 10

                 11 TERRY LEE SIEGFRIED and TERRI                      CASE NO. BC691900
                    SIEGFRIED,                                         (Hon. Steven J. Kleifickl, Dept, 324)
                 12
                               Plaint i Ffs                            NOTICE OF MOTION AND MOTION TO
                 13                                                    QUASH SERVICE OF SUMMONS;
                                  vs.                                  MEMORANDUM OF POINTS AND
                 14                                                    AUTHORITIES; DECLARATION OF
                       3M COMPANY (f/kia MINNESOTA                     TRENTON HARTZLER
                 15 MLNING & MANUFACTURING
                       COMPANY); AIR & LIQUID SYSTEMS
                 16 CORPORATION (sued individually and AS.             Hearing Date:    March 29, 2018
                       successor-in-interest to BUFFALO PUMPS,         Time:            1:45 p.m.
                 17 TNC.); ABB, INC. (individually and as              Department:      324
                       successor-in-interest to ITE IMPERIAL CO.
                 18 '..f/kla ITE CIRCUIT BREAKER COMPANY);
                     I ALFA LAVAL INC. (sued individual and as         Action Filed:    January 26, 2018
                 19 successor-in-interest to THE DELAVAL               Trial Date:      None Set
                       SEPARATOR COMPANY and SHAR1'LES
                 20 CORPORATION); ATWOOD & MORRILL
                       CO.; INC. d/b/a WEIR VALVES &
                 21 CONTROLS USA INC; AURORA PUMP
                       COMPANY; A.O. SMITH 'CORP.; B.ACOU-
                 22 DALLOZ USA, INC., (sued as successor-in-
                       interest and/or f/k/a W.G.M. SAFETY
                 23 PRODU-CTS clibla WILLSON SAFETY
                       PRODUCTS); CARRIER CORPORATION;
                 24 CARVER PUMP COMPANY; CBS
                       CORPORATION (a Delaware Cornoration)
                 25 f/k/a VIACOM, INC. (as successor-by-merger
                       to CBS CORPORATION) (a Pennsylvania
                 26 Corporation) f/k/a WESTINGHOUSE
                       ELECTRIC CORPORATION) and also as
                 27 successor-in-interest tp'BF STURTEVANI;
                       CAL-VAL, .CO.: CLEAVER-BROOKS, INC.
                 28 (sued individually and as successor-in -interest
L EW1S
BRISBOIS
BISGAARD                4843.8313-7086.1
& SIVT11-1LIP                              NOTICE OF MOTION AND MOTION TO QUASH SERVICE OF SUMMONS
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